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   1                         UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK
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        - - - - - - - - - - - - - - X
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   4    UNITED STATES OF AMERICA,       :      09-CR-466(BMC)

   5               Plaintiff,            :
                                               United States Courthouse
   6            -against-               :      Brooklyn, New York

   7    JOAQUIN ARCHIVALDO GUZMAN
        LOERA,                           :
   8                                           November 19, 2018
                   Defendant.            :     9:30 o'clock a.m.
   9

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  11
                               TRANSCRIPT OF TRIAL
  12                  BEFORE THE HONORABLE BRIAN M. COGAN
                   UNITED STATES DISTRICT JUDGE, and a jury.
  13

  14    APPEARANCES:

  15
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   1    APPEARANCES:    (Continued)

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        Proceedings recorded by mechanical stenography, transcript
  25    produced by computer-aided transcription.



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   1                (In open court; outside the presence of the jury.)

   2                THE COURT:    Good morning, everyone.      Have a seat,

   3    please.

   4                All right.    We will bring in the jury as soon as

   5    they are ready.

   6                I take it you are going to finish up this direct?

   7                MS. PARLOVECCHIO:      Your Honor, I hope to be done by

   8    lunch.    I spent some time over the weekend streamlining, and

   9    cutting as Your Honor had suggested but, you know, this is our

  10    first witness who creates -- who will testify about the

  11    foundation of much of our case.          He was a co-conspirator with

  12    the defendant for nearly 16, 17 years, and we're getting to

  13    the heart of the matter here but we'll plow through it as

  14    quickly as possible.

  15                THE COURT:    I understand.      All I can ask is that you

  16    make the effort.

  17                MS. PARLOVECCHIO:      Yes, Your Honor.

  18                MR. PURPURA:       Your Honor, may I ask that when the

  19    government finishes its direct, whatever time that is, if we

  20    can take perhaps maybe a five minute break.         I do have some

  21    exhibits I will share with the government that I may or may

  22    not use with cross-examination to make it smoother.

  23                THE COURT:    Sure.

  24                MR. PURPURA:       Thank you.

  25                (Jury enters.)



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                       Zambada Garcia - direct - Parlovecchio                875


   1                 THE COURT:    All right.     Everyone be seated.

   2                 Good morning, ladies and gentlemen.

   3                 THE JURY:    Good morning.

   4                 THE COURT:    I hope you had a good weekend.

   5                 We will continue with our direct examination.

   6                 MS. PARLOVECCHIO:      Thank you, Your Honor.

   7    JESUS ZAMBADA GARCIA            ,

   8          the witness, having been previously duly sworn,

   9          resumed (through the Spanish interpreters) as follows:

  10    DIRECT EXAMINATION (Continuing)

  11    BY MS. PARLOVECCHIO:

  12    Q     Good morning Mr. Zambada?

  13    A     Good morning.

  14    Q     I don't think we can hear the microphone.

  15    A     Can you hear me?

  16    Q     Yes.

  17                 Now, you testified last week that the defendant's

  18    base of operations was in Sinaloa.

  19    A     Yes.

  20    Q     Did you learn where in Sinaloa the defendant initially

  21    went after his escape?

  22    A     Yes.

  23    Q     Where did he go?

  24    A     He went to the mountains, the high part of the mountains

  25    up to Badiraguato La Tuna, the area where he was born.



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                      Zambada Garcia - direct - Parlovecchio                 876


   1    Q      How did you learn about that?

   2    A      Well, my brother Mayo commented to me that he was at that

   3    location and I visited him sometime afterwards.

   4    Q      Approximately when did you visit him there?

   5    A      More or less at the beginning of 2002.

   6    Q      Let me show you what's marked for identification as

   7    Government's Exhibit 506-19.

   8                MR. PURPURA:       No objection.

   9                MS. PARLOVECCHIO:      Government moves to admit

  10    Government Exhibit 506-19.

  11                THE COURT:    Admitted without objection.

  12                (So marked.)

  13    Q      Mr. Zambada, what are we looking at here?

  14    A      It's a map of the state of Sinaloa.

  15    Q      And can you show us using Government's Exhibit 506-19,

  16    where you went to visit the defendant in La Tuna, Badiraguato?

  17    A      More or less it's this area.      (Indicating.)

  18    Q      And who went with you on this visit in 2002?

  19    A      His nephew Juancho, my brother Mayo and me.

  20    Q      And Juancho, what did Juancho do for the drug

  21    organization?

  22                MR. PURPURA:       Objection, Your Honor, again, basis.

  23    602.

  24                THE COURT:    She is going to ask that right after he

  25    answers the question.      If she does not, I will strike the



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                      Zambada Garcia - direct - Parlovecchio                 877


   1    answer.

   2                Go ahead.

   3    Q     You may answer.

   4    A     Juancho was a nephew, was and is a nephew of Chapo's and

   5    he's one of his most trusted people.

   6    Q     How did you know he was one of the defendant's most

   7    trusted people at this time?

   8    A     Well, they introduced him to me at that time and my

   9    brother Mayo said to me, This is one of the people who enjoys

  10    a maximum confidence of my Compa Chapo.

  11    Q     Was there anything you observed in addition to that about

  12    Juancho that led you to conclude that he was an important

  13    person in the defendant's organization?

  14    A     Well, things concerning security.         I realized that prior

  15    to arriving, that he had communication to be sure that

  16    everything was in proper order.

  17    Q     And who did you see when you went to meet with the

  18    defendant at this location in La Tuna, Badiraguato?

  19    A     Well, I realized he had a lot of security, maybe 20 or 30

  20    gunmen.   And among them was a person, an acquaintance of mine

  21    that I had known from years before whose name was Paulino.

  22    Q     Who is Paulino?

  23    A     Paulino was a gunman who was very trusted also by Amado

  24    Carrillo.

  25    Q     What did this location in La Tuna, Badiraguato look like?



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                       Zambada Garcia - direct - Parlovecchio                878


   1    A     It was a humble house, a farmer's house.        It was in the

   2    pine trees, was on a mesa on the highest part of the bluff.

   3    Q     Did you ever see the defendant at this location again

   4    after this visit in 2002?

   5    A     Yes.

   6    Q     When was that?

   7    A     I saw him at the beginning of 2003.

   8    Q     Now, who proposed that you meet the defendant in the

   9    mountain location at the beginning of 2003?

  10    A     My brother Mayo.

  11    Q     What, if any, reason did Mayo give you for going to visit

  12    the defendant at the beginning of 2003?

  13    A     Well, he invited me to go along to say hello to him.

  14                 I said to him:    Don't you think it's better for you

  15    to go by yourself and I'll stay?

  16                 And he said:     Look, I need for you to come with me

  17    and I want you to come with me so that my Compa Chapo will

  18    feel that you're also a friend of his.

  19                 And I said:    I'm also his friend.

  20                 He said to me:    My Compa Chapo is a very important

  21    person and it's not the same when we're spending time with

  22    someone.     I want him to be your friend.      You have no idea of

  23    the tremendous power that he has, all the friendships and all

  24    the friends that he has.       I want you to be his friend.      I know

  25    what I'm saying to you.       He's a person who is very important



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                       Zambada Garcia - direct - Parlovecchio                879


   1    who has a lot of power.       Some day, if something should happen

   2    to me, you are going to need to have good friends and he's a

   3    good friend.

   4               So I said to him:      Okay.   Let's go.   I also would

   5    like to say hello to him.

   6    Q     Now, when your brother Mayo was using the term "friend,"

   7    what did you understand him to mean, what kind of friend?

   8    A     Well, he would feel that he had my support and also that

   9    I was part of my brother's team and at any point that I needed

  10    support, that I could have it.

  11    Q     Support in drug trafficking?

  12    A     Well, logical, that was the reason for our life, right,

  13    drug trafficking.

  14    Q     Now, what did the defendant's house look like when you

  15    went to see him on this occasion in the beginning of 2003?

  16    A     Well, now they had built it with cement and with brick.

  17    It was a small house but it was well made.         It had a sky

  18    antenna, a long range antenna for the radios.         That was what I

  19    noticed as differences.

  20    Q     Do you know whether the defendant stayed at that location

  21    in La Tuna, Badiraguato?

  22    A     Yes, it was where he lived.

  23    Q     Did he stay there for a long term after that?

  24               MR. PURPURA:       Judge, objection, continuing again.

  25    There has to be some basis.



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                          Zambada Garcia - direct - Parlovecchio                 880


   1                    THE COURT:    I got it, Mr. Purpura.

   2                    Ask him how he knows.

   3    Q       How do you know that he stayed there for a period of

   4    time?

   5    A       Well, a period of time because the next time that I went

   6    to visit him, he was also still up in the mountains but in a

   7    different location.

   8    Q       Okay.    So around this time, in 2003, were there any

   9    instances where you had helped the defendant evade capture by

  10    the Mexican government?

  11    A       Yes, there was one time.

  12    Q       Can you tell the jury about that?

  13    A       Yes, of course.       Well, the time came I was living in

  14    Mexico City.       That was my base.         And one day, a lieutenant

  15    colonel called who worked directly with the organization.                He

  16    was one of my people.

  17                    And he said:       I need to speak with you because

  18    there's a problem.

  19                    I met with him.      And he said:     They're going to

  20    capture Chapo.          They have him surrounded where he is and

  21    they're very close to him, El Chapo.

  22    Q       What did you do with this information?

  23    A       I asked him what could be done to help him, I asked the

  24    lieutenant colonel what could be done to help him to avoid

  25    this operation.         Well, the captain in charge of the operation



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                         Zambada Garcia - direct - Parlovecchio                   881


    1   is an acquaintance of mine and that's when he is communicating

    2   this information so I told him to hold on, to wait to see if

    3   perhaps this situation could be resolved in another way.

    4                  And he said:     Look, they have him about half an hour

    5   away.    He's surrounded.       He wants $250,000 and if we don't do

    6   that, they're going to capture him.            And I said to him:       Let

    7   me make a call.

    8                  I called my brother Mayo and I said:        Look, this is

    9   what's happening and check it out to see if it's true, and if

   10   it is true, well, the possibility exists to be able to fix it.

   11   And he said:      Okay, call me back in 10 or 15 minutes.           I

   12   called him back and he said:         It's true.      And he said:

   13   Deliver the money to them?         Are these people that you could

   14   trust?    And I said:     Yes, these are acquaintances of mine.

   15   Q       Did you make -- sorry.      Go ahead.

   16   A       Excuse me.     Go ahead.

   17   Q       Did you pay the money to stop the operation?

   18   A       Yes.

   19                  And so as soon as I spoke with my brother Mayo, I

   20   spoke with him and I said:         Sir, right now, I'm going to bring

   21   you the money and so don't worry about it.

   22                  And he said:     Don't worry.    It's going to be okay.

   23   Nothing is going to go on.

   24                  I went, I took over the money and I delivered it to

   25   him.



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                       Zambada Garcia - direct - Parlovecchio                  882


    1   Q     What happened as a result of this payment of $250,000?

    2   A     The operation was aborted.       There was no problem.

    3   Q     Were there other occasions when you got information about

    4   like this about law enforcement pursuing the defendant?

    5   A     There was one other time but much later.         I think it was

    6   around the beginning of 2006.

    7   Q     When you received that information about a law

    8   enforcement capture operation, did you pass that information

    9   on to the defendant?

   10   A     I didn't have direct communication with Chapo.          When I

   11   would receive that information, I would pass it to my brother

   12   Mayo and my brother Mayo would pass it to him.

   13   Q     Now, you testified earlier that the defendant moved to a

   14   place, another place in the mountains.

   15   A     That's right.

   16   Q     Using Government's Exhibit 506-19, can you show the jury

   17   where this next location was located?

   18   A     Yes, of course.     This place was located more or less,

   19   maybe in this area, in Durango -- (Indicating) -- right on the

   20   border with Sinaloa, a location that they call Las Coloradas.

   21   Q     Now, you testified that your brother and the defendant

   22   would communicate with each other.        Were you aware of how your

   23   brother Mayo and the defendant communicated with one another

   24   when the defendant was in the mountains?

   25   A     Yes.



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                       Zambada Garcia - direct - Parlovecchio                883


    1   Q       How did you learn about that?

    2   A       Well, my brother Mayo showed me all the phones and radios

    3   that he had to get in touch with him.        He had the means to get

    4   in touch with him, that is, my brother Mayo.          Those were

    5   encrypted devices because of security.

    6   Q       How did your brother Mayo and the defendant get these

    7   encrypted phones?

    8   A       Well, they always have engineers at the service of the

    9   cartel and these are the people who are in charge of doing all

   10   those type of jobs.

   11   Q       Did they also use something called radios?

   12   A       Yes, radios, for communication.

   13   Q       What types of radios are these?

   14   A       Those are long range radios, like the ones the police

   15   uses.

   16   Q       Now, you testified about this location in Las Coloradas

   17   where the defendant was located.        Did you ever meet with him

   18   there?

   19   A       Yes, of course.

   20   Q       When did the first meeting in Las Coloradas with the

   21   defendant take place?

   22   A       At the end of 2003.

   23   Q       Approximately how many times did you meet with the

   24   defendant in Las Coloradas at the end of 2003?

   25   A       Two times.



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                       Zambada Garcia - direct - Parlovecchio                884


    1   Q     Who went with you to the first meeting?

    2   A     Well, at the first meeting, it was my brother Mayo,

    3   Juancho, my wife and I.

    4   Q     How did you get to this meeting?

    5   A     By a small plane, it was a 206 or a 210.

    6   Q     Can you describe the landing strip where you landed in

    7   Las Coloradas?

    8   A     It was a landing strip that was right there at the mesa

    9   on the mountains, like in between the pines and it was

   10   undercover because of all of the pines.

   11   Q     Where did you see the defendant after you landed?

   12   A     Right there at the landing strip.

   13   Q     Aside from the defendant, can you describe what else you

   14   saw on the landing strip when you landed that day?

   15   A     Well, there were many gunmen who were watching out for

   16   him and who were located in different places all around the

   17   location.    Some of them were there where we were and others

   18   had gone far away to other places.        There were many of them.

   19   I would say there were about 30 to 40.

   20   Q     What, if anything, did you speak to the defendant about

   21   after you got out of the plane?

   22   A     Well, we greeted each other.       He greeted my wife.

   23   Everyone was really happy.       He spoke to my brother.      We talked

   24   for a little bit about all the normal things for about 20 to

   25   30 minutes and then all of the sudden, there was this noise



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                       Zambada Garcia - direct - Parlovecchio                885


    1   that we started hearing and it was a helicopter, one of those

    2   military choppers.

    3   Q       What happened after you heard the military helicopter?

    4   A       Well, we were all alert and we started all running away

    5   to take cover and people started yelling:         The soldiers are

    6   coming.

    7                I told my wife to get back on the plane with the

    8   pilot and I asked the pilot if in case that they would come

    9   down, if he could take off, and then he said yes.          So then I

   10   told her to get on the plane and if they came, that she should

   11   just take off.

   12   Q       Now, just to be clear, were you still on the landing

   13   strip when this was happening?

   14   A       Yes, we never moved away from the landing strip.        We got

   15   there.    We stayed there until that incident happened.

   16   Q       Now, you testified that this was a military helicopter.

   17   How did you know it was a military helicopter?

   18   A       Well, because of the color.

   19   Q       What did the defendant say when you first heard the

   20   helicopter?

   21   A       Well, we were all looking at each other and staring at

   22   each other and we were saying, well, the military are coming.

   23   And my wife told me here:       Come, get on the plane.      And I

   24   said:    No, I'm staying here with him and with my brother, you

   25   should go.



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                       Zambada Garcia - direct - Parlovecchio                886


    1                And there came a time when the noise was coming

    2   closer and closer and closer and then my brother went away to,

    3   like, hide behind the pine trees and he was a little further

    4   out.   I stayed close to Chapo.        Chapo was right there at the

    5   landing strip and I asked him to give me a rifle so he gave me

    6   a rifle and that's what it was.

    7   Q      Now, where did you get the rifle from?

    8   A      He had rifles there.     He gave me one.

    9   Q      What kind of rifle was it?

   10   A      Chapo gave me one.     I think it was an AK-47.

   11   Q      Who else was on the landing strip when all of this was

   12   happening?

   13   A      Well, all of these gunmen were in strategic places

   14   awaiting to see what would happen.        There came a time when he

   15   seen that they were actually going to land and he told me:            Go

   16   take cover under a tree and I'm going to take cover here and

   17   stay here.    And then he said:     If they do come down, we're

   18   going to have to fight with them, we're going to have to kill

   19   them because they're going to want to fight us.

   20                So then there were, what, like, 30 seconds went by

   21   and a minute went by and all of the sudden, they started

   22   moving away and you could hear it moving away.          Everyone

   23   yelled:    They left, they left.       And we said, Well, they left,

   24   that's great.

   25   Q      Now, while you were holding a rifle and having this



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                       Zambada Garcia - direct - Parlovecchio                887


    1   conversation with the defendant about the military coming

    2   down, what was the defendant's demeanor at that time?

    3   A       He was calm.   He was alert, a little alert.        And he said:

    4   You know, you take cover here.         I'll take cover here.    If they

    5   could come down, we're just going to have to fight them.

    6   Q       How did you feel at that time?

    7   A       Well, I felt like, you know -- there was an adrenaline

    8   rush.    I mean it was, like, you were in between a life and

    9   death situation.

   10   Q       So just to be clear, did the soldiers actually come down

   11   in the landing strip?

   12   A       No, they were just up top, just, you know, going around

   13   in circles, you know, like looking but, no, they didn't come

   14   down.

   15   Q       What happened after the military helicopter left?

   16   A       Well, in about 3, 4, 5 minutes later, my brother came

   17   back, everyone else came back, everyone was gone.           And then I

   18   just told my brother:      Let's go.    And he told me:     No, let's

   19   wait.    And then I said:     No, let's go.      I told him:   We have

   20   to move.    What if they come back?      Let's go.    So we left.

   21   Q       Did you visit the defendant in Las Coloradas again?

   22   A       Yes, that's right.

   23   Q       When did you go to see him again in 2003?

   24   A       We went back three, four days after this incident.

   25   Q       Did you want to go at this time?



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                       Zambada Garcia - direct - Parlovecchio                 888


    1   A     Well, no, I really didn't want to.         I told my brother,

    2   well, you know, we just had that incident and what if we have,

    3   like, another problem there.       And then he said, well, he said:

    4   No, no, they were just looking for poppy and marijuana.           They

    5   were not looking for my Compa Chapo.        He's invited you to come

    6   over and eat breakfast with your wife so let's go.

    7   Q     Who went with you this time?

    8   A     The same people went, my wife, my brother, Juancho and I.

    9   Q     Did you stay on the landing strip on this visit?

   10   A     No, we went to his house.

   11   Q     What did the house look like?

   12   A     Well, you know, it was a house that was about two

   13   kilometers away from the landing strip, I think, and it was a

   14   house that was really well built.        It was right by the pine

   15   trees right on the mountain.       It had two little rooms and a

   16   bathroom.    He had a sky antenna.      A phone antenna, one for

   17   radios.

   18   Q     When you got to the defendant's house, what people did

   19   you see there?

   20   A     Well, this time around, there were some people there,

   21   there were some women, they were preparing the meal, and his

   22   gunmen.

   23   Q     What did you do while you were at the defendant's house?

   24   A     Well, this time around, I, actually, after breakfast, I

   25   went out and talked to him.       We talked and he actually thanked



                       CMH      OCR      RMR       CRR      FCRR
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                       Zambada Garcia - direct - Parlovecchio                889


    1   me for helping him with this situation with the military.            He

    2   told me that he was going to return the money to me.

    3                Well, I told him that I was just going to go into

    4   Guerrero to work and I said that that was needed because my

    5   brother and I were going to get some importation stuff,

    6   cocaine, and we needed Zihuatanejo.

    7                He told me that General Toledano was there in

    8   Chilpancingo and he said for me to go see him because he was a

    9   friend meaning Chapo's friend.         And he asked me if I had

   10   anybody who could take me over to see the general and I said

   11   to him that I had a friend with the military who knew everyone

   12   there who could take me.      And he told me:     Well, yeah, go see

   13   him.   Please give him my regards and also give him $100,000 on

   14   my behalf.

   15                He also asked me -- we spoke about this.         He asked

   16   me if I could bring cocaine for him in Mexico so that he could

   17   bring it to the United States.         And I told him:     Yes, yes, I

   18   could sell that to you because that's my business.           I do sell

   19   there in Mexico.     And he asked about prices.       And I told him:

   20   Look, you know, just like the price that there is there, I'll

   21   just sell you at that price and even more so because I

   22   actually sell only on a cash basis because that's my basis.

   23   And he said, I know, and he said, The most important thing is

   24   for you to sell to us when you have it.          And so I said:   Okay.

   25   Of course.    You know, don't worry.



                       CMH      OCR      RMR       CRR      FCRR
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                         Zambada Garcia - direct - Parlovecchio                 890


    1                  And then he actually called out to Juancho and he

    2   said:    Juancho, come.      And he said:    Well, look my compa is

    3   going to sell to us cocaine and they're in Mexico City

    4   whenever you, whenever we need it.          And I want you to talk to

    5   him and make arrangements with him so that whenever you need

    6   some, then you can call him and you can do whatever is

    7   necessary to buy from him.

    8                  And okay.    He said, Juancho, he said, What do we do?

    9   How do we do this?         I said:   This is my NexTel number.    Why

   10   don't you take it down.          And I told him:   Look, take down

   11   Chepe's number as well because sometimes I do go to the ranch

   12   to work and then Chepe is going to be there because that's who

   13   I have in charge and that's going to be the same.

   14                  And I asked him:      Do you know who Chepe is?    And he

   15   said:    Yes, I know who he is.        And then I told him:   Well, you

   16   know, whenever you need it, you know, you can also talk to him

   17   because I do sometimes go to the ranch to work and I might be

   18   there for a few days.

   19   Q       Now, you testified that -- by the way, this information

   20   is between you and the defendant?

   21   A       Yes, that's right.

   22   Q       Now, you testified that the defendant thanked you for

   23   getting the information about the capture operation.             Was

   24   there anything else you discussed about that?

   25   A       Yes.   He told Juancho to give me the money whenever we



                         CMH       OCR       RMR     CRR     FCRR
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                       Zambada Garcia - direct - Parlovecchio                891


    1   got back to the city.      Right?    And we talked about friends

    2   and, you know, he, again, thanked me.        And he said:     You have

    3   too many friends in Mexico City.        And I said:    My brother does

    4   too, even more so than I do.        And we spoke about politics,

    5   what was happening.

    6                And then he said:      Look, you know, what about

    7   Vasconcelos?    That's a tough one, right?       Yes, I said, as far

    8   as I know, he doesn't cooperate with anybody.          And then he

    9   said:    Well, yes, I guess we're going to have to kill him at

   10   any point in time, he said.       And then I said:     Well, yes, that

   11   I do not know, but it seems that this man, he doesn't like

   12   making any arrangements with anybody.

   13                It was one of the most important things that I do

   14   remember about that conversation which, in fact, was one of

   15   those conversations that lasted longer and that I had with

   16   him.

   17   Q       Who is Vasconcelos?

   18   A       Vasconcelos is -- he was one of the high command of the

   19   PGR, a police officer that everyone respected and feared

   20   because what was said about him was that he would not take

   21   money.

   22   Q       Would not take money from who?

   23   A       On behalf of drug trafficking.

   24   Q       And you testified that you also discussed with the

   25   defendant that he wanted to buy cocaine from you in Mexico



                       CMH      OCR      RMR       CRR      FCRR
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                        Zambada Garcia - direct - Parlovecchio               892


    1   City.    Did the defendant tell you why he wanted to buy cocaine

    2   from you there?

    3   A       Yes.   He told me he wanted to bring it up to the United

    4   States, that that was the most expensive location.           He said to

    5   me:   We have a good route.      Here in New York, it's the most

    6   expensive.     It's the best plaza for that.

    7   Q       You also testified that you discussed pricing with the

    8   defendant.     What pricing did you discuss?

    9   A       Well, I told him that the cocaine in Mexico City, that

   10   the price fluctuated between 10 and 13 depending on the time

   11   period.

   12   Q       Now, did you, in fact, make this cocaine purchasing

   13   arrangement in Mexico City with the defendant?

   14   A       Yes, of course.

   15   Q       And based on this discussion with the defendant, did you

   16   have an understanding why he was buying cocaine from you in

   17   Mexico City when he had sources of supply in Colombia?

   18   A       Well, he said that sometimes, they wouldn't have enough

   19   and they needed to have continuity to be able to continue

   20   working with the marketplace.       And he said:    Well, we don't

   21   have, we're going to come looking for you so you can sell to

   22   us.

   23   Q       Now, with regard to the pricing in Mexico City, you

   24   testified that it was, the cocaine was sold at 10 and 13.            Can

   25   you just clarify what 10 and 13 refers to?



                        CMH       OCR    RMR       CRR      FCRR
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                       Zambada Garcia - direct - Parlovecchio                893


    1   A     10 to 13,000 USD.

    2   Q     Per?

    3   A     Per kilo.

    4   Q     Now, did the defendant have any weapons on him during

    5   this discussion about purchasing drugs in Mexico City?

    6   A     Yes.   He had a pistol, revolver, a Super.

    7   Q     What if any other firearms have you seen the defendant

    8   with on other occasions?

    9   A     Well, he always carried a rifle, AK-47s, R-15s, on

   10   occasion, I saw him with bazookas, different kinds of weapons

   11   but all high powered weapons.

   12   Q     Did you ever see him with any special types of weapons?

   13   A     Well, you know, that Super pistol which he had which is a

   14   very rare gun.       On the handle, he had diamonds.

   15                (Continued on next page.)

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                       CMH       OCR     RMR       CRR      FCRR
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                           Zambada - direct - Parlovecchio                   894


    1   BY MS. PARLOVECCHIO:      (Continuing.)

    2   Q     Let me show you what's marked for identification as

    3   Government Exhibit 811-1.        What is this?

    4   A     This is the one that Chapo carried.         This is a Super

    5   pistol which has diamonds on the handle and on the handle

    6   these are even his initials, Chapo's.

    7   Q     Let me show you all the pages of Government Exhibit

    8   811-1.

    9               MR. PURPURA:    No objection.

   10               MS. PARLOVECCHIO:       May I publish?

   11               THE COURT:    It's received, you may publish.

   12               (Government's Exhibit 811-1 received in evidence.)

   13               (Exhibit published.)

   14   BY MS. PARLOVECCHIO:

   15   Q     Mr. Zambada, can you describe what we are seeing here?

   16   A     It's a Super pistol maybe two or three letters and they

   17   call this the 7 chinos.         The handles are made of diamonds and

   18   they have the initials JGL.

   19   Q     I'm just showing you a close-up of that.         Are these the

   20   diamonds?

   21   A     Yes, of course.

   22   Q     Did you ever give the defendant a firearm as a gift?

   23   A     One time I gifted one.        I sent it with my brother, Mayo.

   24   Q     Now you testified that the defendant agreed to reimburse

   25   you the 250,000.     Did he actually reimburse you?



                                   SN       OCR     RPR
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                             Zambada - direct - Parlovecchio                    895


    1   A       Yes.   In fact, when we returned back from the mountains

    2   Juancho delivered the money to me.

    3   Q       Turning back to Government Exhibit 811-1, you testified

    4   that this is a Super.

    5   A       .38 Super.

    6   Q       A .38.   And that's the caliber of the weapon?

    7   A       Yes, that is.

    8   Q       Now, you testified that even the defendant agreed for him

    9   to purchase cocaine from you in Mexico City.          Over what

   10   period -- I'm sorry.

   11                  Over what period of time did Chapo buy cocaine from

   12   you in Mexico City?

   13   A       He bought from me from 2004 to 2008, prior to my arrest.

   14   Q       How much cocaine did he buy from you in Mexico City each

   15   time?

   16   A       Well, the first time he bought from me 700 kilos.         The

   17   second time again, 700 then 900.        That was the first year.

   18   The second year he purchased from me three times more or less

   19   around the same quantities.       The following year, now he

   20   started purchasing from me 900, one ton and they started

   21   sending me the money in advance so that when I would have

   22   cocaine I would separate it off for them and not sell it to

   23   someone else.

   24   Q       Now, approximately how much did the defendant pay you for

   25   a kilogram of cocaine?



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                           Zambada - direct - Parlovecchio                   896


    1   A       On some occasions he paid me 10,000, other times 12,000.

    2   The maximum amount that they paid to me was $13,000 per kilo.

    3   Q       And approximately how much was a kilogram of cocaine

    4   going for in the New York City area during this period from

    5   2004 to 2008?

    6   A       35, which is the price that normally exists here in New

    7   York.

    8   Q       So how would it work when the defendant wanted to buy

    9   cocaine from you in Mexico City?

   10   A       Well, the first time they would speak and ask if I have

   11   and I would say, yes, I have.       Can you sell me 700 kilos?

   12   Well, yes.    We would agree on the price, they would send me

   13   the money and I would send them the cocaine.          After the second

   14   year they started sending the money ahead of time in advance,

   15   the majority of the times.

   16   Q       And who is "they," who are the individuals doing this for

   17   the defendant?

   18   A       Excuse me, it was Chapo and Juancho.      It was Chapo, but

   19   he was the worker of Chapo's.

   20   Q       Who brought the money for the cocaine to Mexico City?

   21   A       They would send them in the transports in the gas tanker

   22   trucks and right in there, the cocaine would be placed to

   23   return it back to Culiacan.

   24   Q       Now, you testified earlier that the defendant gave you

   25   money up front for the cocaine?



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                           Zambada - direct - Parlovecchio                   897


    1   A     That's right.

    2   Q     When you say that the defendant gave you money up front,

    3   what was the most money he gave you up front for this cocaine?

    4   A     Up to $13 million.

    5   Q     Now, who picked up the cocaine from the defendant at your

    6   warehouse in Mexico City?

    7   A     The transport with the gas tanker truck.

    8   Q     Who was operating the gas tanker truck?

    9   A     Well, there were two drivers.       El Pinguino and Eloy.

   10   That's the people who usually drove the gas tanker.

   11   Q     And to whom did these gas tankers belong?

   12   A     Well, to my brother Mayo.

   13   Q     And you testified that the cocaine would go up to

   14   Culiacan.    Did you have any understanding where the cocaine

   15   went after Culiacan?

   16   A     Oh, the cocaine was coming here, but the first stop was

   17   Culiacan and from there it was sent up here to the United

   18   States.

   19   Q     Did the defendant ever personally come to your warehouse

   20   in Mexico City?

   21   A     No.

   22   Q     Did you have an understanding why he never came to your

   23   warehouse?

   24   A     Well, he was very wanted at this period of time and he

   25   always stayed up in the mountains.        In this time period, as



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                           Zambada - direct - Parlovecchio                   898


    1   far as I know, he never came down from the mountains.

    2   Q      So how were you able to communicate with the defendant

    3   about your drug business if you were not face-to-face with

    4   him?

    5   A      I spoke with Juancho.

    6   Q      Now, you testified earlier that in the early 1990s that

    7   your brother and Amado Carillo were the leaders of the Sinaloa

    8   Cartel.    Did there come a point when their partnership

    9   changed?

   10   A      That's right.

   11   Q      How did the partnership change?

   12   A      With Amado's death.

   13   Q      What happened when Amado died?

   14   A      Well, my brother continued on with Vicente Carillo who

   15   was Amado's brother for a short period of time.

   16   Q      Do you know -- you testified that they worked together.

   17   Do you know whether they worked together sending cocaine to

   18   the United States?

   19   A      Yes, of course.

   20   Q      What was the last cocaine transaction you know about

   21   between your brother Mayo and Vicente Carillo?

   22               MR. PURPURA:     Time frame, Your Honor.

   23               THE COURT:    First let him say what he knows and then

   24   she can ask when that was, which she probably will.

   25               Go ahead.



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                            Zambada - direct - Parlovecchio                    899


    1   A     The last transaction that I remember was an importation

    2   of cocaine that they did with Pedro Bermudez El Arqui.           My

    3   brother Mayo and Kike and Vicente Carillo.          That cocaine they

    4   crossed it over through Torreon, I think.           Vicente Carillo,

    5   and he brought it up to here, up to New York.

    6   Q     Approximately when was this?

    7   A     It probably was around '97, more or less.

    8   Q     What were some of the methods that Mayo and Vicente

    9   Carillo used to move cocaine into the United States?

   10   A     The tractor trailer trucks.          And I really didn't

   11   understand the question.          Could you repeat it please?

   12   Q     Sure.    What were some of the methods that your brother

   13   Mayo and Vicente Carillo used to move cocaine into the United

   14   States?

   15   A     Well, they used the tractor trailer, the gas tanker

   16   trucks and the train as well.

   17   Q     How did they use trains to transport cocaine to the

   18   United States?

   19                 MR. PURPURA:    Objection, 602 again, Your Honor.

   20                 THE COURT:   Sustained, sustained.      A little more

   21   background.

   22                 MS. PARLOVECCHIO:      Sure.

   23   BY MS. PARLOVECCHIO:

   24   Q     Did you learn more about the train route that was used by

   25   your brother Mayo and Vicente Carillo?



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                           Zambada - direct - Parlovecchio                    900


    1   A     That's right.    My brother asked me to join him at a

    2   meeting that he had with a person named Tirso and this meeting

    3   was so that we would organize with this person the

    4   transportation of cocaine into the United States that used the

    5   train route.

    6   Q     Approximately when did this meeting with Tirso take

    7   place?

    8   A     More or less the same time frame the year 1997.

    9   Q     Did you ever see the trains that Tirso used?

   10   A     That's right.

   11   Q     What was your understanding of how Tirso's trains worked?

   12               MR. PURPURA:    Same objection Your Honor.

   13               THE COURT:    Overruled.

   14   A     Well my brother asked me to go and check in with Tirso to

   15   see these areas where he had the trains that he was loading up

   16   and for me to go and see how the structure was and that was in

   17   Mexico City and I went with this person to see the train and

   18   this was a cargo area where they had the tankers with the

   19   chemicals that they would bring to the United States.           And

   20   these men explained that there was this tank and inside of it

   21   there was another tank where you would place the cocaine and

   22   you could open it and close it and the person who was aware of

   23   the system was the only one who could access it.          And he told

   24   me there's just one guard and no one really pesters you.           It's

   25   really safe.    There's really nothing.      Those were the only two



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                           Zambada - direct - Parlovecchio                   901


    1   times that I saw Tirso in my life.

    2   Q     Did Tirso tell you how much cocaine he would move using

    3   the trains?

    4   A     Oh, he told me that he could move a lot and that he had

    5   the capability for there to be tankers of three or of six that

    6   it really depended on the amount, that was more or less, but

    7   it was a lot of cocaine that they could bring using that

    8   system.

    9   Q     And when you refer to three or six, what are you

   10   referring to?

   11   A     Tons of cocaine.

   12   Q     Mr. Zambada, who is Rodolfo Carillo-Fuentes?

   13   A     Well, Rodolfo Carillo-Fuentes was Amado and Vicente

   14   Carillo's brother.

   15   Q     Did he work with them in the drug business?

   16   A     That's right.

   17   Q     I'm going to direct your attention to the early 2000s.

   18   What, if any, drug trafficking organizations did Rodolfo

   19   Carillo Fuentes work with?

   20   A     Well, him and his brother Vicente Carillo worked with the

   21   Zetas.

   22   Q     Who were the Zetas?

   23   A     The Zetas was a cartel that came up in Tamaulipas with

   24   the Cardenas Guillen, right?       He became very powerful in

   25   Mexico and dangerous.



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                           Zambada - direct - Parlovecchio                   902


    1   Q     I'm going to show you Government Exhibit 502 in evidence.

    2               (Exhibit published.)

    3   Q     Can you please show the jury where Tamaulipas is located?

    4   A     Of course.    This is the capital.     See that, Victoria, and

    5   the Zetas covered all this area from Matamoros all the way to

    6   Tampico.

    7   Q     What is significant about Tamaulipas in drug trafficking?

    8   A     Well, that it had some crossover points that were used

    9   often to cross drugs over; cocaine, marijuana.          And it has a

   10   very important port which is Tampico.        To a Spaniard, that's

   11   Vera Cruz already.

   12   Q     Based on your experience how was the Sinaloa Cartel's

   13   relationship with the Zetas initially at the beginning of the

   14   2000s?

   15   A     It was a good relationship.

   16   Q     Now, directing your attention to 2002, how if at all did

   17   the relationship between Sinaloa Cartel and the Zetas change?

   18   A     Yes, during this time there were problems that started

   19   between the Zetas cartel and the Sinaloa Cartel.

   20   Q     What times of problems?

   21   A     Well, the problem started with La Barbie killed

   22   Cuarenta's brother and Cuarenta was one of the leaders of the

   23   Zetas.   And then he took off and took refuge with Arturo

   24   Beltran in Mexico City.

   25   Q     La Barbie did?



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                           Zambada - direct - Parlovecchio                   903


    1   A     Exactly.

    2   Q     And who is La Barbie?

    3   A     La Barbie was one of the Zacharias that was really

    4   causing a lot of reactions and later on he went on -- and then

    5   he went on to Arturo's.        And La Barbie was also a very

    6   powerful drug trafficker.

    7   Q     How now you say that La Barbie took refuge with Arturo.

    8   Is this Arturo Beltran Leyva?

    9   A     Correct.

   10   Q     What happened as a result?

   11   A     Well, the Zetas wanted for La Barbie to turn over Arturo

   12   Beltran to the Zetas.      Arturo said no.     Arturo said that La

   13   Barbie was his friend and he was going to offer him

   14   protection.    And then a war broke out between the Zetas and

   15   Arturo Beltran.     And as a consequence one way or another it

   16   actually drives the entire Sinoloa Cartel with them.

   17   Q     This was a war with the Zetas?

   18   A     That's right.

   19   Q     Did Rodolfo Carillo continue working with Zetas after the

   20   war broke out between the Sinaloa Cartel and the Zetas?

   21   A     That's right.

   22   Q     I'm now going to direct your attention to 2004.          What, if

   23   anything, happened to Rodolfo Carillo Fuentes that year?

   24   A     He was killed.     That was more or less around August or

   25   September.



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                           Zambada - direct - Parlovecchio                   904


    1   Q     Did you become aware of who murdered Rodolfo

    2   Carillo-Fuentes?

    3   A     That's right.

    4   Q     How did you learn about that?

    5   A     Well, I was in Culiacan that day.        I was at a house that

    6   my brother Mayo had assigned to me so I could rest.           It was me

    7   and my wife.    And he had assigned Commander Reading so he

    8   could be in charge of my security.

    9   Q     Who was Commander Ready?

   10   A     Ready was a person who worked for the PGR.         He was there

   11   for a long time he was part of the X-1 and Sinaloa and when

   12   his commander period ended, he wanted to stay there and he

   13   started working with my brother.

   14   Q     Could you please explain to the jury what happened on the

   15   day that you learned that Rodolfo Carillo-Fuentes was

   16   murdered?

   17   A     Well, I was at the house.      All of a sudden Ready called

   18   me and said, come, come, something very significant is

   19   happening and I need to talk to you.

   20   Q     And I said, well, what happened.       He said well come, come

   21   to the office.     He had a little office there where he had

   22   installed himself and then he actually had a view of the

   23   street.    And he said listen to the radio?

   24               MR. PURPURA:    Objection.    That is not 801(d)(2).

   25               THE COURT:    Let's have a sidebar, please.



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    1               (Sidebar held outside of the hearing of the jury.)

    2               (Continued on next page.)

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                                         Sidebar                             906


    1               (The following sidebar took place outside the

    2   hearing of the jury.)

    3               THE COURT:    The problem is that he is repeating what

    4   Ready heard over the radio.

    5               MS. PARLOVECCHIO:     Okay, so if Your Honor will give

    6   me -- I can make a proffer of what he will also testify to.

    7   He will testify to it is his understanding that the

    8   individuals speaking over the radio were the sicarios for the

    9   cartel who are the co-conspirators who had the radio because

   10   they were on the system that all the cartels members had.

   11               THE COURT:    I assumed it was a public radio.       Like a

   12   news broadcast.

   13               MS. PARLOVECCHIO:     Radio is a term of art that they

   14   used for these protected police radios that they communicated

   15   on with one another.

   16               MR. PURPURA:    These sicarios, who are they working

   17   for?

   18               MS. PARLOVECCHIO:     The cartel.

   19               MR. PURPURA:    Which cartel?

   20               MS. PARLOVECCHIO:     The Sinaloa Cartel.

   21               THE COURT:    That is fine.

   22               MS. PARLOVECCHIO:     Thank you.

   23               (Sidebar ends.)

   24               (Continued on next page.)

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                           Zambada - direct - Parlovecchio                    907


    1   BY MS. PARLOVECCHIO:

    2   Q     Mr. Zambada, just to clarify the radio that Commander

    3   Ready had that that he was listening to, was that the type of

    4   radio that you described earlier?

    5   A     Yes, of course.

    6   Q     So did you have an understanding of who generally was

    7   speaking over the radio that Commander Ready was listening to?

    8   A     The ones who killed Rodolfo Carillo.        The gunmen were

    9   talking and saying, well, they are actually right after us.

   10   They are about to reach us and then on the other end you can

   11   hear a fight, don't let them reach you, grab you.          The ones

   12   who were ahead they should go on.        All of a sudden they said,

   13   we're fighting, we're fighting and then all of a sudden the

   14   communication got cut off.

   15   Q     What happened after you heard this conversation with

   16   Commander Ready over the radio?

   17   A     One, so he couldn't hear anything else on the radio.            I

   18   asked him why don't you explain to me what is happening.           And

   19   he said, well, they killed Rodolfo, Chapo killed him, he said.

   20   But I said, well, where, how?       How did it happen?     He said,

   21   well it seems that they killed him right as he --

   22               MR. PURPURA:    Objection.    There is no basis.

   23               THE COURT:    I got it.     Let me think about it a

   24   minute.

   25               Sustained.



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                           Zambada - direct - Parlovecchio                    908


    1   BY MS. PARLOVECCHIO:

    2   Q       Did Commander Ready tell you how he knew about what

    3   happened to -- how Rodolfo was murdered?

    4   A       He was listening to the radio.     I asked him, how do you

    5   know?    And then he said I'm listening on the radio everything

    6   that is happening, he said.       He told me -- he told me, well,

    7   you know, they said that Rodolfo had been killed and his wife

    8   and a commander of the judicial police by the name Juan Pedro

    9   or Chuy Pedro.

   10   Q       What did you do when you heard about this information?

   11   A       Well, I was very concerned, right?       Well, you know, I

   12   never expected for something like this to happen.          I was just

   13   there to greet my brother and it so happened I was in Culiacan

   14   on that day.

   15   Q       What, if any, discussion did you have with your brother

   16   Mayo about the murder of Rodolfo Carillo?

   17   A       Well that day Ready told me, we cannot leave at all.

   18   Nobody can go out on the street.        And then he said you are

   19   just going to see your brother tomorrow.         I will take you to

   20   see your brother tomorrow.       Well, the next day I went to see

   21   my brother because I had already greeted him when I arrived,

   22   but I hadn't been able to talk to him, right?          And the next

   23   day I did talk to him and I asked him, hey, brother, what

   24   happened?    And then he said --

   25                MR. PURPURA:    Judge, objection.     Again, this could



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                           Zambada - direct - Parlovecchio                   909


    1   be hearsay, upon hearsay, upon hearsay.

    2               THE COURT:    Mr. Purpura, I understand exactly what

    3   you are saying.     Believe me.

    4               MR. PURPURA:    You are way ahead of me, I apologize.

    5               THE COURT:    No, I am with you.     I am not way ahead

    6   of you.    It depends on the answer.      Let's take it at sidebar

    7               (Sidebar held outside of the hearing of the jury.)

    8               (Continued on next page.)

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                                         Sidebar                             910


    1               (The following sidebar took place outside the

    2   hearing of the jury.)

    3               THE COURT:    The question is, is his brother drawing

    4   conclusions or does he know firsthand.

    5               MS. PARLOVECCHIO:     He has personal knowledge based

    6   on the fact that he was the boss of the sicarios in addition

    7   to the defendant who then reported back to him, but also he

    8   was present for a meeting where the defendant gives the order

    9   to have Rodolfo killed.

   10               THE COURT:    And that is all going to come out?

   11               MS. PARLOVECCHIO:     Yes.   Well, I can ask the

   12   question to elicit more about how his brother knew.

   13               THE COURT:    While we are here, this is personal to

   14   Mr. Purpura.    I tend to discourage speaking objections.

   15   Generally I will see where you are coming from if you say

   16   "Objection," or saying "Relevance, 602."         Give me one word.

   17   If I overrule the objection and you think I missed something

   18   crucial, ask for a sidebar.

   19               MR. PURPURA:    Judge, I appreciate that.      Thank you.

   20               MS. PARLOVECCHIO:     Thank you.

   21               (Sidebar ends.)

   22               (Continued on next page.)

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                           Zambada - direct - Parlovecchio                    911


    1   BY MS. PARLOVECCHIO:      (Continuing.)

    2   Q       Mr. Zambada, did you have an understanding of how your

    3   brother knew about the murder of Rodolfo Carillo?

    4   A       Well, from what he said to me, he knew what was going to

    5   happen or what was happening.       He told me that a few days

    6   prior he had held a meeting or had a meeting occur between

    7   Chapo and Rodolfo to fix things and that Rodolfo when he left,

    8   Chapo gave him his hand and he said, well, see you later

    9   friend, and Rodolfo just left him standing there with his hand

   10   extended.    And he said to me, my Compa Chapo got really upset

   11   and he said, well, that Chapo said he was going to kill him,

   12   that he have to decide which side he was going to be on with

   13   the Carillos because he couldn't take Rodolfo anymore and he

   14   said to me, I answered him that I was with him.          Rodolfo is

   15   dead and I am with him, he said.

   16                And I said well, what are we going to do?        I am also

   17   with him and with you.      We have to take better care of

   18   ourselves than normally and now I am leaving -- I don't want

   19   to stay here.     I took a plane and I returned back to Mexico

   20   City.

   21   Q       Now, taking a step back, when your brother Mayo was

   22   telling you about the meeting between Rodolfo and the

   23   defendant and the defendant said, I am going to kill Rodolfo

   24   and said you have to take sides, who was the defendant

   25   speaking to based on your understanding?



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                           Zambada - direct - Parlovecchio                   912


    1   A       Well, that the relationship with Vicente Carillo was

    2   going to get totally lost, right?        That's what he made them

    3   understand, is what my brother said.        And he said, I'm with

    4   you.    And he said, my godson Vicente Carillo spoke with me and

    5   I told him I'm with my Campa Chapo.

    6   Q       Could you please use names when you're referring --

    7   A       He said to me, Vicente Carillo.

    8   Q       Who said to you?

    9   A       My brother Mayo said to me, Vicente Carillo already spoke

   10   to me and I already told him that I am with my Campa Chapo.

   11   Q       Now what happened to the relationship between the

   12   defendant, Mayo and the Carillo-Fuenteses after the defendant

   13   had Rodolfo killed?

   14   A       It broke -- they became enemies.

   15   Q       And what happened -- what did the Carillo-Fuenteses do

   16   once they became enemies of the defendant and your brother

   17   Mayo?

   18   A       Well, there started being an internal war there in

   19   Culiacan between the Carillo-Fuenteses and my brother and El

   20   Chapo.    And at the end of that year they killed Arturo,

   21   Chapo's brother, at the prison.

   22   Q       Now, in 2004 after Vicente Carillo broke away from the

   23   Sinaloa Cartel, who were the Sinaloa Cartel's principal

   24   leaders?

   25   A       Joaquin Guzman Loera and Ismael Zambada Garcia, Mayo.



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                              Zambada - direct - Parlovecchio                913


    1   Q       Now we are going to use the board.       In 2004 you testified

    2   that the Carillo-Fuenteses broke away from the Sinaloa Cartel;

    3   is that right?

    4   A       Completely.

    5   Q       And then you testified that your brother Mayo and the

    6   defendant were the principal leaders of the cartel; is that

    7   correct?

    8   A       That's right.

    9   Q       Where does Nacho Coronel fit in the organization at this

   10   time?

   11   A       Underneath Chapo and my brother.

   12   Q       Arturo Beltran, what was his position at the time?

   13   A       He was also a principal leader.

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   15                (Continued on the following page.)

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                     J. Zambada Garcia - direct - Parlovecchio               914


    1   BY MS. PARLOVECCHIO (Continuing):

    2   Q     And his brother Hector?

    3   A     Underneath him.

    4   Q     And Alfredo Beltran Leyva?

    5   A     Beside Hector.

    6   Q     How about El Azul?

    7   A     El Azul could be next to all of them or as a principal

    8   leader.

    9   Q     And yourself?

   10   A     Beneath my brother.

   11   Q     And you had testified earlier about Benny Contreras.

   12               Where is Benny in the organization?

   13   A     Underneath me.

   14   Q     German?

   15   A     Underneath Benny or beside Benny.

   16               MS. PARLOVECCHIO:     We'll put him beside for now.

   17   Q     Does this fairly and accurately represent the Sinaloa

   18   cartel in 2004 after the Carillos broke away?

   19   A     That's right.

   20   Q     Now, just turning back to Vicente Carillo, what, if

   21   anything, did you know about his relationship with the Zetas

   22   in 2004?

   23   A     Now he was one of the leaders of the Zetas.

   24   Q     What was the name of the Vicente Carillo Fuentes drug

   25   trafficking organization at this time in 2004?



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                      J. Zambada Garcia - direct - Parlovecchio              915


    1   A     Juarez cartel, La Linea, and the long-term is he worked

    2   for the Zetas.

    3   Q     You testified that there was a war between Vicente

    4   Carillo's organization, the Juarez cartel, and the Sinaloa

    5   cartel.

    6                 Did you become aware of where this war was being

    7   fought principally?

    8   A     Could you repeat the question for me, please?

    9   Q     Sure.    You testified that there was a war between the

   10   Vicente Carillo's organization, the Juarez cartel, and the

   11   Sinaloa cartel.

   12                 Did you become aware of where this war was being

   13   fought principally?

   14   A     In Sinaloa in Guerrero, in Tamaulipas.

   15   Q     Anywhere else?

   16   A     In Mexico City.

   17   Q     Anywhere else?

   18   A     In any location where the two different gangs were

   19   located, they would fight.

   20   Q     Now what, if anything, was done to try to stop the

   21   fighting between the Juarez cartel, the Zetas, and the Sinaloa

   22   cartel?

   23   A     Well, yes, the moment came wherein Juan Jose Esparragoza

   24   Azul was asked to attend a meeting with the Zetas through some

   25   person that they sent to him.       And they told him -- and they



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               916


    1   had the intention of reaching a peace treaty, but that he was

    2   the perfect person to speak with all of the people in Sinaloa.

    3   Q     Who was the perfect person?

    4               MR. PURPURA:    Objection.

    5               THE COURT:    Sustained, sustained.

    6   Q     How do you know about all of this?

    7   A     Well, Juan Jose Esparragoza spoke with me.         He was in

    8   Mexico City.    I said to him, This sounds fabulous to me and I

    9   am going to speak with Arturo.

   10               He said, He's the main person and Chapo and my

   11   brother and I think we are all going to agree about this, and

   12   I also agree.

   13   Q     Now, just taking a step back, what plaza did Vicente

   14   Carillo control at this time?

   15   A     Juarez.

   16   Q     Was war taking place there too?

   17   A     Yes, because my brother also had control in Juarez.

   18   Q     Now, you testified that Azul had proposed having some,

   19   basically, peace meetings with the Zetas and the Carillos.

   20   A     That's right.

   21   Q     How do you know about these meetings?

   22   A     I attended the meetings.

   23               And agreement was reached at first meeting was held.

   24   Q     Where was the first meeting?

   25   A     In Cuernavaca, Morelos.



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               917


    1   Q     Showing you Government Exhibit 502 in evidence...

    2               (Exhibit published to the jury.)

    3   Q     Can you show the jury where Cuernavaca, Morelos is

    4   located?

    5   A     Yes, of course.     Morelos, here at this location; and

    6   here's Cuernavaca.

    7   Q     Did you learn approximately how many meetings there were

    8   to reach a peace?

    9   A     I attended five of them in Morelos and my brother held a

   10   sixth one in Zacatecas.

   11   Q     How did you learn about your brother attending the sixth

   12   one in Zacatecas?

   13   A     Because he notified me that he was going to go, my

   14   brother, and that I'd, you know, be on the lookout with him.

   15   Q     Did your brother tell you who was at these meetings

   16   representing the Vicente Carillo Fuentes?

   17   A     Yes, my brother told me that some of the principal

   18   leaders of the Zetas were there and JL.           And he was upset

   19   about that because he said, I was going to speak with Vicente

   20   Carillo and he sent again JL.

   21   Q     Who is JL?

   22   A     JL was the right-hand person, like the armed wing, for

   23   Vicente Carillo.

   24   Q     Are you aware of a plot to kill JL?

   25   A     That's right.



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               918


    1   Q     How did you learn about that?

    2   A     Well, a peace treaty was reached, but JL didn't respect

    3   it.

    4                MR. PURPURA:   Objection again.

    5                THE COURT:   Overruled.

    6   A     He continued killing in Culiacan people that were my

    7   brothers and that were Chapo's.           And my brother commented to

    8   me that he and Chapo were going to kill JL.

    9   Q     What did your brother Mayo tell you about the plan to

   10   murder JL?

   11   A     He told me that they more or less knew where he was on

   12   the coast in Sinaloa and that they were going to kill him

   13   because in addition to the fact that he continued to kill

   14   people, he had said that he was going to kill my nephew

   15   Vicente.

   16   Q     Did you find out what ultimately happened to JL?

   17                MR. PURPURA:   Objection.

   18                MS. PARLOVECCHIO:    He actually was about to testify.

   19                THE COURT:   I know.

   20                She knows she's got that obligation and she's met it

   21   each time, so you might give a little leeway.

   22                MR. PURPURA:   I did.

   23                THE COURT:   I'd rather have a strike if it doesn't

   24   come out.    I think it will be more efficient.

   25                Go ahead.



                                  LAM       OCR       RPR
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                       J. Zambada Garcia - direct - Parlovecchio              919


    1   A      There came a time when my brother told me that we killed

    2   him.

    3   Q      What did your brother tell you about JL's murder?

    4   A      Well, he told me that him and Chapo had killed him.

    5   Q      Did he say where?

    6   A      I don't remember exactly the place.         He told me that it

    7   was at some place in Sinaloa.

    8   Q      I'm now going to direct your attention to approximately

    9   early 2005.

   10                 Did you see the Defendant at that time?

   11   A      Yes.

   12   Q      Where did that meeting take place?

   13   A      At Las Coloradas.

   14                 THE COURT:   Before you get into that meeting, maybe

   15   it is a good time for a morning break.

   16                 MS. PARLOVECCHIO:    It is, your Honor.

   17                 THE COURT:   Ladies and gentlemen, we'll take 15

   18   minutes.      Please be back here at 25 to 12.      Please remember

   19   not to discuss the case amongst yourselves at all.

   20                 (Jury exits.)

   21                 THE COURT:   Okay.   Recess.   11:40.

   22                 (Recess taken.)

   23                 THE COURT:   There's a request for pictures?

   24                 MR. PURPURA:    Your Honor, yes.     The simple request

   25   is we'd like to be able to take a picture of that chart before



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    1   it changes again so that we have it.         I know the Government

    2   can make some sort of reproduction later on, but we'd rather

    3   have it now than later.

    4               THE COURT:    What are you going to do with the

    5   picture?

    6               If it's for use at trial, I guess it's okay.         If I

    7   see it in the newspaper tomorrow, that's publishing exhibits,

    8   which we can't use.

    9               MR. PURPURA:    It's not an exhibit -- first of all,

   10   I'm not giving anything to the press and I haven't been.

   11               THE COURT:    I'm not accusing you of anything, I'm

   12   just asking what you're going to do with it.

   13               Look, it's easy enough if you wrote down the

   14   names -- there's only ten names on there -- you write the

   15   order, three rows, and you have your pictures.

   16               MR. PURPURA:    Well, I don't have a picture.       You can

   17   put names there and I'm not going to have a face to the names.

   18   It's difficult enough for me to remember these people.

   19               THE COURT:    What are you going to do with the

   20   picture?

   21               MR. PURPURA:    I'm going to use it in my cross.

   22               THE COURT:    Solely?

   23               Do I have a representation from counsel that the

   24   only use of that picture will be in this courtroom and it will

   25   not be leaked out?



                                 LAM        OCR      RPR
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    1               MR. PURPURA:    Yes, absolutely, I'll tell you this

    2   much:   If it gets leaked out it's not from Purpura.          That's

    3   what I can represent.

    4               MS. PARLOVECCHIO:     Your Honor, if it's helpful we

    5   could take the photo and provide it to the defense.           We don't

    6   have objection to doing that.

    7               THE COURT:    It's the same issue:      Does it get out?

    8               All the defense counsel, are you willing to confine

    9   it to use in the courtroom?

   10               MR. BALAREZO:      Absolutely, your Honor.

   11               MR. LICHTMAN:      Yes, sir.

   12               THE COURT:    Any objection on that basis?

   13               MS. PARLOVECCHIO:     No objection, your Honor.

   14               THE COURT:    Are you going to change it again?

   15               MS. PARLOVECCHIO:     Yes.

   16               THE COURT:    Snap away.

   17               MR. PURPURA:    That's the reason why.      Actually, I'm

   18   not taking the picture, Mr. Balarezo will.

   19               THE COURT:    Whoever is taking it, take it, because

   20   we want to get on with the witness.        The jury is standing in

   21   the hall.

   22               MS. PARLOVECCHIO:     May the Government also take a

   23   photo, your Honor.

   24               THE COURT:    Of course.

   25               MS. PARLOVECCHIO:     Mr. Nardozzi is the photographer



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    1   for the prosecution.

    2               THE COURT:    Got it.

    3               MR. NARDOZZI:      Got it, your Honor.    Thank you.

    4               THE COURT:    Let's bring in the jury.

    5               I take it we're getting close, right?

    6               MS. PARLOVECCHIO:     We're getting there, your Honor.

    7   It might go a little bit beyond lunch, but no more than that.

    8   Doing my best.

    9               THE COURT:    Just keep an eye on the jury.

   10               MS. PARLOVECCHIO:     Yes, your Honor.

   11               (Jury enters.)

   12               THE COURT:    Be seated, please.      Let's continue.

   13               MS. PARLOVECCHIO:     Thank you, your Honor.

   14   BY MS. PARLOVECCHIO:

   15   Q     Mr. Zambada, before the break, you testified about what

   16   men were ready and what your brother Mayo told you about how

   17   Rodolfo Carillo was murdered and you weren't able to finish

   18   your answer due to an objection which was overruled.

   19               Can you please just tell the jury how Rodolfo was

   20   killed based on what you were told by your brother?

   21               MR. PURPURA:    Objection.

   22               THE COURT:    Overruled.

   23   Q     You may answer, sir.

   24   A     Well, I found out that he had been killed at Plaza

   25   Cineopolis when he was coming out of the movies.          He was



                                 LAM        OCR     RPR
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    1   coming out with his family -- his wife and his children -- and

    2   the commander also that I mentioned to you from the judicial

    3   police whose name I don't know.          It was either Juan Pedro or

    4   Chuy Pedro or something like that.         Rodolfo Carillo died, his

    5   wife dead too, and the commander was seriously injured but he

    6   was saved afterwards.

    7   Q       I'm going to direct your attention to approximately early

    8   2005.

    9                  Did you see the Defendant at that time?

   10   A       Yes.

   11   Q       Where did you meet with the Defendant?

   12   A       At Las Coloradas.

   13   Q       What happened around that time in 2005 when you visited

   14   the Defendant in Las Coloradas?

   15   A       Well, we went to say hello to him.         And on my behalf, I

   16   actually gave my condolences because his brother Arturo had

   17   just been killed at the prison.

   18   Q       Arturo Guzman?

   19   A       Yes, Arturo Guzman.

   20                  He told me that he had had him there with him for

   21   about three hours.

   22   Q       Who told you that?

   23   A       Chapo.

   24                  And we only spoke a little bit, really.       It was a

   25   really sad situation because of Arturo's death.



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    1   Q       Did you make any other visits to the Defendant in 2005?

    2   A       Yes.

    3   Q       Who went with you on your third visit in 2005?

    4   A       Well, on the third visit, there were several people who

    5   went.    It was my son Vicente -- my nephew Vicente, my son

    6   Richard, and Licensido --

    7                  THE INTERPRETER:   The interpreter asked him to

    8   clarify.

    9   A       Licensido Paredes, Licensiadito, there was Pelon, there

   10   was another one from the highway police, there was Guillermo

   11   Figueroa, there are was my wife Juancho, my brother.           We

   12   actually got there in two planes.

   13   Q       What did you do when you were there?

   14   A       We were talking, we had some beverages, and we were

   15   practicing shooting at the target.

   16   Q       What were you using to shoot at the target?

   17   A       Well, it was just like, you know, a day off, and somebody

   18   had the idea to practice shooting at the target.

   19   Q       What were you shooting at the target?

   20   A       Well, there was this, like, container that we had in

   21   front and we were shooting at it with AK-47s, AR-15s, guns.

   22   Q       Did the Defendant fire any weapons that day?

   23   A       Yes.

   24   Q       What types of firearms?

   25   A       Well, his gun and his AK-47.



                                  LAM      OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               925


    1   Q     Were there any other types of weapons fired that day?

    2   A     Well, yes.    They did test out a Bazooka.

    3   Q     Who did the Bazooka belong to?

    4   A     To El Chapo.

    5   Q     Mr. Zambada, who is Julio Beltran?

    6   A     Julio Beltran was a drug trafficker who was also very

    7   famous and very powerful, from Sinaloa.

    8   Q     Directing your attention to approximately mid 2005, did

    9   you become aware of a plan to kill Julio Beltran?

   10   A     That's right.

   11   Q     How did you learn about that?

   12   A     Well, in Acapulco, Arturo Beltran told me and my brother

   13   that he wanted to kill Julio Beltran.

   14   Q     Did he tell you why he wanted to kill Julio Beltran?

   15   A     Well, because he didn't obey, he didn't really understand

   16   what they wanted him to do, and because he had brought down a

   17   shipment of cocaine out of the coast of Acapulco and they had

   18   told him not to do that.

   19   Q     Julio Beltran had done this?

   20   A     Exactly, Julio Beltran.

   21   Q     Did you have an understanding why Arturo Beltran was

   22   telling your brother Mayo about this?

   23   A     Well, because Julio Beltran was part of the Sinaloa

   24   cartel.    He was right there.     He was in Culiacan.

   25   Q     Did Arturo Beltran ask your brother permission to kill



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio                926


    1   Julio Beltran?

    2   A     Exactly, he did ask him what he thought.         And he said,

    3   You know, I'm going to go to Culiacan and we're going to talk.

    4   I'm going to go talk to my compa Chapo and I'll come back in a

    5   few days and see what we're going to do.

    6   Q     Can you clarify who said, "I'm going to go talk to my

    7   compa Chapo"?

    8   A     My brother Mayo.

    9   Q     Did you have an understanding why Mayo wanted to talk to

   10   Chapo before deciding to kill Julio Beltran?

   11   A     Well, I think that he wanted to take him into account.

   12   Q     What do you mean by that?

   13   A     Well, him and Chapo were the leaders there in Culiacan.

   14   They were the leaders of the people, right?

   15   Q     What people?

   16   A     The people that were part of the Sinaloa cartel.

   17   Q     Did you speak to Mayo about what happened after he spoke

   18   to Chapo?

   19   A     Yes.

   20   Q     What did he say?

   21   A     He told me that they had decided that they were going to

   22   kill Julio Beltran.

   23   Q     What is your understanding about why your brother told

   24   you that Julio Beltran was going to be murdered?

   25   A     Well, because of what Arturo had said, Arturo Beltran,



                                 LAM       OCR      RPR
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                      J. Zambada Garcia - direct - Parlovecchio              927


    1   and because Arturo Beltran had killed Nacho Chaidez, who was

    2   another leader of the Sinaloa cartel -- excuse me.

    3                 Well, I don't know if I made a mistake when I

    4   answered, but he told me it was because Julio Beltran had

    5   killed Nacho Chaidez.      That's what he said, And he had said

    6   that he hadn't killed him, but we know that he did kill him,

    7   so we're going to go support Arturo and we're going to kill

    8   him.

    9   Q      And this is Mayo whose saying this?

   10   A      Yes, my brother Mayo.

   11   Q      And when Mayo said, We are going to kill him, what was

   12   your understanding of who "we" was?

   13   A      Well, between him, Alfredo Beltran, Arturo Beltran, and

   14   Chapo.    The team.

   15   Q      Did you learn how Julio Beltran was killed?

   16   A      Yes.   They killed him there in Culiacan and they actually

   17   pretty much had a hail of bullets from an AK-47.

   18   Q      How did you learn about this?

   19   A      One of my brother's gunmen was injured.        His name was

   20   Ismael.    And my brother told me that they thought they had

   21   injured Ismael when there was this gunfire exchanged when they

   22   killed Julio.     A few days later, I saw Ismael and I told him,

   23   I'm really glad to see you, it's good to see you're okay.            I

   24   had heard you were injured in Julio's business.

   25                 He told me, Yes, you know, they injured me right



                                 LAM       OCR      RPR
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                      J. Zambada Garcia - direct - Parlovecchio              928


    1   here, behind my neck.      And everyone had thought that they had

    2   killed me, but, you know, I was only unconscious for about

    3   five to ten minutes and I woke up again.

    4               He was just like, Oh, it was just a scratch.         It was

    5   just all the blood.

    6               And he told me that they had killed Julio right on

    7   Obregon Street, which is the most popular street, right across

    8   from the cathedral, and that they had a gunfire exchange with

    9   the police that he had protecting him, and that several people

   10   ended up dead.

   11   Q     Who was protecting him?

   12   A     The police were protecting Julio Beltran.         He had police

   13   officers from Durango.

   14   Q     What else did this man tell you about the murder of Julio

   15   Beltran?

   16               MR. PURPURA:    Objection, your Honor.      The basis of

   17   Mayo's information.

   18               MS. PARLOVECCHIO:     This is --

   19               THE COURT:    This is a conversation between him and

   20   Ismael, the witness Ismael, who the witness has identified as

   21   the gunman.

   22               Go ahead.

   23   Q     You may answer.

   24   A     Ismael, he told me there was just, like, a burst of

   25   bullets and they had cut off his head, but the head was barely



                                 LAM       OCR      RPR
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                      J. Zambada Garcia - direct - Parlovecchio              929


    1   hanging from, like, one side.

    2   Q     You testified earlier that the Defendant mentioned

    3   killing someone named Vasconcelos.

    4                Who is Vasconcelos?

    5   A     No, I never said that he had killed Vasconcelos.

    6                That he wanted to kill him.

    7   Q     So, who is Vasconcelos?

    8   A     Vasconcelos was high official from the Mexican

    9   government.

   10   Q     Are you aware of the plan to kill Vasconcelos?

   11   A     That's right.

   12   Q     How did you hear about the plan to kill him?

   13   A     Well, I was asked to be part of the plan.

   14   Q     How were you asked to be part of the plan?

   15   A     In order to help locate him and for me to help by

   16   providing security to the gunmen who they were going to use to

   17   kill him.

   18   Q     Who made this request?

   19   A     My brother Mayo told me we're going to help my compa

   20   Chapo.   Chapo wants to kill Vasconcelos so we're going to help

   21   with that.

   22   Q     When did this occur?

   23   A     Approximately 2005.      Like, mid '05, more or less.

   24   Q     What happened after Mayo asked you to become a part of

   25   the plot to kill Vasconcelos?



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               930


    1   A     Well, I saw a way to try to locate him, and there came

    2   the day when he was located.       I asked the head of sicarios for

    3   my brother how they thought about, you know, conducting the

    4   operation.

    5                And the truth is that I didn't really think that it

    6   was right, what they were thinking about doing.

    7   Q     Who was the head of the sicarios that you spoke to about

    8   killing Vasconcelos?

    9   A     Mechudo.

   10   Q     Did Mechudo ever work for the Defendant?

   11   A     Well, he worked directly for my brother Mayo, but he was

   12   not acquired by the cartel.       So, he did anything else, you

   13   know, for Chapo as well, right?

   14   Q     What did you say about the plans for Vasconcelos?

   15   A     Well, I spoke to Juan Jose Esparragoza, El Azul, and I

   16   told him that I wasn't going to help kill Vasconcelos because

   17   I told him that I didn't think it would be fair for there to

   18   be any civilian deaths, people who were innocent.          And that in

   19   addition to that, you know, he wasn't really helping or going

   20   against anybody, he was doing his job as a police officer,

   21   that was it.

   22                I told him if this happens, then we're all going to

   23   end up being hurt, effected, and in reality the only thing

   24   that he's doing is he's not cooperating, he's not accepting

   25   any drug trafficking money.       I told him, I just want you to



                                 LAM       OCR      RPR
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                      J. Zambada Garcia - direct - Parlovecchio               931


    1   support me.    And I told him, Talk to my brother and Chapo and

    2   tell him that this is not right.

    3                He told me, You're right and I'm going to talk to

    4   them.    Don't worry.

    5                And then he said, Well, I'm glad that you're

    6   actually paying attention to this.         Because if this were to

    7   happen, it would become, like, a very troublesome issue.

    8   Q       After you spoke to Azul, what did you say to your brother

    9   Mayo about the plan to murder Vasconcelos?

   10   A       I told him the same thing:       That I did not agree.   I told

   11   him I already spoke to my compadre, this really doesn't make

   12   any sense, and it's going to be a huge problem.

   13                And then he said, Well, okay, forget it.        If you

   14   don't want to help, forget it.

   15   Q       Did the plan to murder Vasconcelos go forward?

   16   A       Well, with time, I did receive a call from Nacho Coronel

   17   and he was asking me to support him in regard to some people,

   18   his people and Chapo's people, who had been arrested in Mexico

   19   City with some weapons.        I spoke to the chief operating

   20   officer with the police and I asked him if there was any

   21   chance we could help those people who had been arrested around

   22   the southern part of Mexico City, and he said, No, no, no.

   23                He asked me, Are they your people?

   24                And I said, No, they're not my people.

   25                But I told him, well, these are people from there,



                                 LAM       OCR       RPR
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                      J. Zambada Garcia - direct - Parlovecchio              932


    1   from Sinaloa, and they are calling me to see if there's any

    2   way that we can help them.

    3                He said, No, we cannot help them and, you know, we

    4   can't help them and don't tell anybody else about this matter

    5   because this is a very sensitive issue.

    6                And he said, Well, because these people were on

    7   their way to killing Vasconcelos, he said.

    8                And he said, Forget it.     You don't have to mention

    9   anything to anybody.

   10                And one of them is already talking, he said.

   11   Q       So, just to be clear, did Vasconcelos survive this murder

   12   plot?

   13   A       That's right.

   14   Q       Now, you testified last week that you controlled the

   15   Mexico City airport for the Sinaloa cartel.

   16   A       That's right.

   17   Q       In your role in controlling the Mexico City airport for

   18   the cartel, did you learn about whether the Defendant used the

   19   airport for drug shipments?

   20   A       Correct.

   21   Q       Did the Defendant ever ask for your assistance at the

   22   airport?

   23   A       That's right.

   24   Q       Approximately when did the Defendant ask for your help at

   25   the airport?



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio                933


    1   A     Well, more or less around the end of 2005, I think.           The

    2   truth is it's really hard to nail down the years, but it was

    3   more or less around that time period.

    4   Q     What was the assistance that Chapo asked for at the

    5   Mexico City airport?

    6   A     Well, a Loera had arrived with a commercial airline and

    7   they were having problems getting out the cocaine that the

    8   plane was bringing in.      My brother Mayo came to Mexico City

    9   and he spoke with me, and he said, My compa Chapo has a

   10   problem with a plane at the airport which is his.

   11               And I said to him, What kind of airplane?

   12               He said, It's a commercial airline.        He has a

   13   commercial airline with one plane operating.

   14               And I said, Well, I need to speak with the person in

   15   charge of the airline to see what the problem is.

   16               He said, The problem is that they can't get out the

   17   cocaine that's inside the cargo.         But speak with Chuy

   18   Villegas, the person in charge of the airline.          You already

   19   know him.

   20               And I said, Okay.

   21

   22               (Continued on the next page.)

   23

   24

   25



                                 LAM       OCR      RPR
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                       Zambada Garcia - direct - Parlovecchio                 934


    1   BY MS. PARLOVECCHIO:      (Continuing)

    2   Q      What was the name of this airline company?

    3   A      It had the name of Aero Postal.

    4   Q      And who is Chuy Villegas?

    5   A      Chuy Villegas is a drug trafficker for many years.         I

    6   think he was also a pilot in Mexico City.

    7   Q      Did you have an understanding what Chuy Villegas was

    8   doing for the defendant in this instance?

    9   A      He was the person in charge of managing that airline.          It

   10   was a company that had a DCH plane -- DC8 plane that

   11   transported cargo to different countries in South America, in

   12   Central America, and it would bring cargo up to Mexico also.

   13   And they were bringing cocaine in the cargo that was coming

   14   from Colombia --

   15               MR. PURPURA:       Objection.

   16               THE COURT:    Sustained.     Sustained.    Stop.

   17   Q      How did you learn about what the defendant was using Aero

   18   Postal for?

   19   A      Well, I helped them out.      I helped Chuy Villegas so that

   20   the authorities would hand over the cocaine to them at the

   21   airport.

   22   Q      Hand over the cocaine to who?        Hand over the cocaine to

   23   who?

   24               THE INTERPRETER:      I can't hear.

   25   Q      Hand over the cocaine to who?



                       CMH       OCR       RMR      CRR       FCRR
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                       Zambada Garcia - direct - Parlovecchio                935


    1                THE COURT:    Your voice is falling.

    2   A     They delivered it to Chuy Villegas who was the person

    3   that had, Chapo had in charge in Mexico City for that matter.

    4   They were bringing in five tons.

    5   Q     Now, did you have a hand in resolving this problem at the

    6   airport?

    7   A     In fact, I helped them to resolve it.        I had to speak

    8   with the authorities at the airport, a lot of legal paperwork

    9   had to be done, things like that, but the truth is it took a

   10   lot of work to get the merchandise, the cocaine out, but they

   11   got it out.

   12   Q     Now, after you resolved this problem for the defendant,

   13   did you learn that he had used Aero Postal to move drugs

   14   before?

   15   A     Yes.

   16   Q     How did you learn about that?

   17   A     Well, the airport authorities told me and they said this

   18   is the third time --

   19                MR. PURPURA:       Objection.

   20                THE COURT:    Sustained.

   21   Q     The authorities that you spoke to, were they people on

   22   your payroll?

   23   A     Exactly.

   24   Q     What did those corrupt officials on your payroll tell you

   25   about what the defendant had done with Aero Postal before?



                       CMH        OCR       RMR      CRR    FCRR
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                       Zambada Garcia - direct - Parlovecchio                  936


    1   A     They told me that it was a third time that they were

    2   arriving.    And he said to me:     The truth is we gave them a

    3   chance because he said it was your people.

    4                And I said to him:    No, they're not my people.

    5   They're not my brother's people.        These are Chapo's people,

    6   but it's the same thing because they're all part of the

    7   Sinaloa Cartel.      You know how I work.    If it had been my

    8   people, I would have come to you ahead of time before this

    9   operation started.

   10                He said:   I know.   We're going to help you out.

   11   There's no problem.

   12                They helped me out.    They took out the merchandise,

   13   they delivered it to Chuy Villegas, everything was left fine.

   14   They had to change the company's name.           They put Aero Fox and

   15   they continued using it.

   16   Q     For approximately how long did the defendant continue

   17   using Aero Fox?

   18   A     I don't know how much longer.       You know, I was put in

   19   prison and the company Aero Fox was still there.

   20   Q     Do you know whether the defendant and Chuy Villegas

   21   worked with someone in Colombia in relation to this airline?

   22   A     Yes.

   23   Q     How do you know about that?

   24   A     Well, they worked with a man whose name was Raul.          And

   25   they asked me to please pay attention to him, to speak with



                       CMH      OCR       RMR      CRR       FCRR
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                       Zambada Garcia - direct - Parlovecchio                937


    1   him in Mexico City regarding importations of cocaine.

    2   Q       Who is "they"?

    3   A       My brother Mayo on behalf of Chapo, to please meet with

    4   this man to see if we could do something really big, something

    5   that would be worthwhile.

    6   Q       What was Raul's job in Colombia?

    7   A       He was the director of the company that provided all the

    8   security for the airport in Bogota.

    9   Q       I'm now going to direct your attention to the end of

   10   2006.    Did you see the defendant at that time?

   11   A       Yes.

   12   Q       Where did you see him?

   13   A       At Las Coloradas.

   14   Q       Who was with you on this occasion at the end of 2006?

   15   A       Juan Jose Esparragoza, El Azul, was there, Nacho Coronel,

   16   my brother, me, Juancho, and my wife came with me also.

   17   Q       How was the defendant dressed when you arrived at this

   18   meeting?

   19   A       They were dressed as military people.

   20   Q       Did you see the security guards there?

   21   A       Yes, that's right.

   22   Q       How were they dressed?

   23   A       All dressed as military people.

   24   Q       What happened at this meeting?

   25   A       Well, we were chatting there, we ate.      Nacho Coronel left



                       CMH       OCR     RMR       CRR      FCRR
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    1   with his people by land.

    2                When my brother and I decided that we were going to

    3   return back, Chapo asked Juan Jose Esparragoza, El Azul, to

    4   stay there with him.       He said to him:     I need to talk with

    5   you.    And I have a bottle of Buchanon in here and we'll stay

    6   so we can talk calmly here.         And Juan Jose Esparragoza said:

    7   Okay.    I'll stay with you.

    8                Tomorrow they're coming for me and for my brother.

    9   He told my brother and me:         Tomorrow you're coming for me.

   10   And I said:    Yes.     Tomorrow we'll come back for you.

   11   Q       Mr. Zambada, what is Buchanon?

   12   A       It's whiskey.

   13   Q       And did you have an understanding why the defendant asked

   14   Azul to stay behind to speak with him?

   15   A       Well, there were certain problems now between the Sinaloa

   16   Cartel and Arturo Beltran.         Arturo Beltran wanted to kill

   17   Nacho Coronel.       And, well, Juan Jose Esparragoza was going to

   18   speak with Chapo there finding out what was going on --

   19                MR. PURPURA:       Objection.

   20   A       I think that was --

   21                MR. PURPURA:       Objection.

   22                THE COURT:    Stop.

   23                Ask him why he knows why defendant wanted to meet.

   24                MS. PARLOVECCHIO:      Yes.

   25   Q       How did you know that the defendant wanted to speak to



                       CMH        OCR       RMR      CRR    FCRR
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                       Zambada Garcia - direct - Parlovecchio                939


    1   Juan Jose Esparragoza, El Azul, about this topic?

    2   A       Because Juan Jose Esparragoza, when we were going to

    3   Mexico City to Culiacan, told me:        I want to speak with my

    4   Compa Chapo and I want to find out what's going on.

    5   Q       Going on about what?

    6   A       Well, with Arturo who wanted to kill Nacho Coronel.

    7   Q       I'm now going to direct your attention again to late

    8   2006.    Are you aware of any cocaine shipments members of the

    9   Sinaloa Cartel planned in that period through Panama?

   10   A       That's right.

   11   Q       What shipments do you know about?

   12   A       Well, specifically a boat that was planned to be brought

   13   in from Panama to Sinaloa.

   14   Q       How did you learn about this shipment?

   15   A       I accompanied my brother Mayo to have a meeting with

   16   Arturo Beltran to plan to bring this ship from Panama to

   17   Mexico with 30 tons.

   18   Q       How many meetings total did you have about planning the

   19   shipment?

   20   A       Three times.

   21   Q       So let's talk about the first meeting.      Where was it?

   22   A       It took place in Mexico City.

   23   Q       And who was at this meeting?

   24   A       Arturo and his people, Hector Beltran, La Barbie, and

   25   other gunmen that he had there, my brother and me that was



                       CMH      OCR      RMR       CRR      FCRR
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                       Zambada Garcia - direct - Parlovecchio                940


    1   there with him, accompanying him.

    2   Q     Accompanying your brother?

    3   A     Exactly.

    4   Q     What did your brother Mayo and Arturo Beltran discuss at

    5   this meeting?

    6   A     My brother said to him:      Look, Arturo, you are saying

    7   that you can, have somebody who can load a boat for you

    8   departing out of Panama.

    9                And he said to him:    That's right.

   10                And he said:     Well, I have the ship, the boat.

   11   Let's do the operation.       I'll put in the boat and we'll do it

   12   between you and me and Compa Chapo.

   13                And Arturo said to him:     Perfect.

   14   Q     And just to be clear, your brother Mayo is the one with

   15   the boat?

   16   A     Yes.

   17   Q     When did you meet the second time?

   18   A     Two or three weeks later.

   19   Q     Where did this meeting take place?

   20   A     In Cuernavaca, Morelos.

   21   Q     Who was present for the second meeting?

   22   A     The same people except that a Colombian Conejo was also

   23   there.

   24   Q     Who is Conejo?

   25   A     A very powerful drug trafficker from Colombia who sent a



                       CMH      OCR       RMR      CRR      FCRR
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    1   lot of cocaine to the Sinaloa Cartel through Arturo Beltran.

    2   Q       Let me show the witness an exhibit marked for

    3   identification as Government's Exhibit 67.

    4   A       That's Conejo.

    5   Q       How do you recognize him?

    6   A       Well, I spent a lot of time with him.

    7                MS. PARLOVECCHIO:      The government moves to admit

    8   Government Exhibit 67.

    9                MR. PURPURA:       No objection.

   10                THE COURT:     Received.

   11                (So marked.)

   12   Q       Is this Conejo?

   13   A       That's right.

   14   Q       What was Conejo's role in the shipment to Panama?

   15   A       He was the Colombian, I believe, who was going to load

   16   the boat departing out of Panama.

   17   Q       Load the boat with cocaine?

   18   A       Yes, with the 30 tons that was planned to load it with.

   19   Q       What happened in the second meeting?

   20   A       Well, my brother told him the boat's ready.         My brother

   21   said:    Capi Beto is the one who is going to do all the

   22   logistics for them, for this.         And Arturo said:     Well, we're

   23   ready, send Capi Beto.

   24   Q       Who is Capi Beto?

   25   A       Capi Beto is a person who has provided maritime



                       CMH        OCR       RMR     CRR     FCRR
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    1   assistance and help to my brother and to the entire Sinaloa

    2   Cartel.

    3   Q     Now, you testified that there were three meetings to

    4   organize the shipment.        Where did the third meeting occur?

    5   A     In Cuernavaca, Morelos.

    6   Q     Who came to this third meeting?

    7   A     The same people, Conejo as well:       Arturo, my brother,

    8   Conejo, La Barbie, Hector, same people.          And I accompanied my

    9   brother once again.

   10   Q     What did you discuss during that third meeting?

   11   A     Well, about sending the people to Panama.         The ship was

   12   on its way to Panama and they were going to be loading it up

   13   in a few days later.

   14   Q     Did you know who invested in the shipment?

   15   A     Well, I heard my brother tell him that it was going to be

   16   him, Arturo, my Compa Chapo.       As to how they were going to

   17   invest, I didn't really have the opportunity to know that.

   18   Q     Now, you testified that Capi Beto was in charge of the

   19   logistics.    Do you know if he obtained the ship?

   20   A     Yes, he did.

   21   Q     Where did he obtain the ship?

   22   A     From Mazatlan.

   23   Q     Did you know about the route for the ship?

   24   A     Yes.   The route was Panama, Sinaloa and then from Sinaloa

   25   back to Panama.



                       CMH      OCR       RMR      CRR      FCRR
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                       Zambada Garcia - direct - Parlovecchio                943


    1   Q     Where in Sinaloa?

    2   A     Well, either Mazatlan or Topolobampo which were the two

    3   commercial ports that you have in Sinaloa.

    4   Q     How were the drugs going to be loaded on to the ship?

    5   A     Through fast boats.

    6   Q     How did that work?

    7   A     Well, the ship would advance as usual with a regular,

    8   normal cargo.     It would then slow the speed to the lowest

    9   possible speed as allowed.        And then the fast boats approach

   10   so that they can pick up the cargo, the cocaine.

   11   Q     How would they pick up the cargo?

   12   A     The ship has a special, like, not a crane but something

   13   that would grab it.

   14   Q     And then it would load it up to the ship?

   15   A     Exactly.

   16   Q     I'm going to show you what's marked for identification as

   17   Government's Exhibit 504.        What is this?

   18   A     Well, that is a map of, of Mexico and the Central

   19   American countries, Belize, Honduras, Nicaragua, Panama,

   20   Costa Rica, El Salvador and Guatemala.

   21               MR. PURPURA:       There's no objection to that coming

   22   in.

   23               MS. PARLOVECCHIO:      News to me.

   24               THE COURT:    I'm sorry.

   25               MR. PURPURA:       There's no objection.   I don't think



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                       Zambada Garcia - direct - Parlovecchio                 944


    1   it's being displayed.

    2                THE COURT:    She hasn't moved it in.

    3                MS. PARLOVECCHIO:     I haven't.      I didn't realize

    4   there wasn't going to be an objection, but I'm going to move

    5   it in now.

    6                THE COURT:    Okay.   Admitted without objection.

    7                (So marked.)

    8   Q     Mr. Zambada, using Government's Exhibit 504 which you

    9   testified is a map of the Central American countries in

   10   Mexico, can you please show the jury the route that you

   11   understood the ship was going to take?

   12   A     Well, from here, from Panama, continuing through this

   13   route.   (Indicating.)      Because it's a cargo ship, it would

   14   then be very close to the coastline, all the way up to

   15   Mazatlan.

   16   Q     Now, can you please explain to the jury what happened

   17   with this shipment?

   18   A     It was intercepted as it left Panama.

   19   Q     When who intercepted it?

   20   A     The American Coast Guard.

   21   Q     How did you learn about this loss?

   22   A     Well, when the time came for the operation, my brother

   23   was back in Mexico City again.           He called me, he talked to me

   24   and he told me that the boat had gotten, was lost.

   25   Q     Approximately how much cocaine was seized?



                       CMH        OCR      RMR       CRR      FCRR
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                          Zambada Garcia - direct - Parlovecchio             945


    1   A       They seized approximately 20 tons.

    2   Q       And you testified this was seized by the Coast Guard?

    3   A       Well, that's what I think.

    4   Q       Is that what you were told?

    5   A       Yes, that's what I heard.

    6   Q       Was it the U.S. Coast Guard?

    7   A       That's right.

    8   Q       Were there any meetings to discuss this loss?

    9   A       Yes.

   10   Q       Where?

   11   A       In Cuernavaca.

   12   Q       Who came to this meeting in Cuernavaca?

   13   A       Well, you had more or less the same people.

   14                  Arturo told my brother that it had been Capi Beto's

   15   fault, that he kept calling the phone in Panama.           And then he

   16   said:    Well, the DEA intercepted their calls and that's when

   17   everything happened.       And he said:   But at least ten tons were

   18   saved because it was intercepted before they had finished

   19   loading it up.

   20   Q       Who said that?

   21   A       Arturo.

   22   Q       Did Arturo say anything about whether there were any

   23   arrests made as a result of the seizure?

   24   A       They did arrest the ship's crew and some other people in

   25   Panama.    That's what I heard in the conversation.



                          CMH     OCR     RMR      CRR      FCRR
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                       Zambada Garcia - direct - Parlovecchio                 946


    1   Q     Did you have an understanding why the defendant was not

    2   at this meeting at Cuernavaca if he invested in the load?

    3   A     Well, because my brother was there representing him and,

    4   like I said, the defendant would barely come down from the

    5   mountains.

    6   Q     When was the last time you visited the defendant in the

    7   mountains?

    8   A     Well, I think it was in the year of 2007.         It's really

    9   difficult to be exact on the years, but it was more or less

   10   around that time.

   11   Q     When in 2007 approximately?

   12   A     Must have been in the first few months of the year.

   13   Q     Where was this meeting?

   14   A     Right there, at Las Coloradas.

   15   Q     Who was present at this meeting?

   16   A     My brother Mayo, my nephew Vicente.        Juancho, me.

   17   Q     What was discussed at this meeting?

   18   A     Well, at this meeting, we talked about the fact that we

   19   would declare war to Arturo Beltran.

   20   Q     Who was discussing declaring war against Arturo Beltran?

   21   A     Well, my brother Mayo and Chapo.

   22   Q     What, if anything, did Chapo and Mayo tell you about why

   23   they wanted to go to war against Arturo Beltran?

   24   A     Well, as far as I knew, Chapo wanted to talk to Arturo

   25   Beltran and Arturo had been refusing for the longest time to



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    1   go talk to him, to Chapo.       And since there were so many

    2   problems related to him, it was decided that they would

    3   declare war or they were deciding they were talking on that

    4   day about the fact that they were thinking about declaring

    5   war.

    6   Q      And just to be clear, when you refer to "they," who are

    7   you referring to?

    8   A      Mayo, Chapo, my nephew, Juancho, me, I was also talking

    9   about that.

   10   Q      During this discussion about going to war against the

   11   Beltran Leyvas, was there any mention about potential targets

   12   in such a war?

   13   A      Well, we talked about the fact that if the war would

   14   break out, that there were many people who were dangerous,

   15   like Arturo, La Barbie, Rafita, and little details like that.

   16   It would have been, it would be a very violent war.           That's

   17   what I told them from my part, I said I didn't really think it

   18   would be right for them to declare war to Arturo.

   19   Q      Now, who specifically was discussing potential targets in

   20   the war?

   21   A      Well, those were comments that we would all share right

   22   there in that conversation.

   23   Q      Did you go back to see Chapo again after this visit?

   24   A      I really don't remember.     I think that was the last time

   25   I ever saw him and if I ever did see him again, that's not



                       CMH      OCR      RMR       CRR      FCRR
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                       Zambada Garcia - direct - Parlovecchio                948


    1   clear to me.

    2   Q     Why -- was there any reason why you didn't go to visit

    3   him in the mountains after this?

    4   A     Well, from then on, the timing, it became very

    5   complicated for all of us, and we all had to be very careful

    6   because the relationship with Arturo was not as comfortable,

    7   if you will.

    8   Q     I'm going to direct your attention to 2007.

    9               Were the Beltran Leyvas working with any other drug

   10   trafficking organizations around this time?

   11   A     That's right.

   12   Q     Which organization?

   13   A     With the Zetas.

   14   Q     What, if any, effect did the Beltran Leyvas' relationship

   15   with the Zetas have on the Beltran Leyvas' relationship with

   16   your brother Mayo and Chapo?

   17   A     Well, it was a very uncomfortable relationship because

   18   Vicente Carrillo was part of the Zetas and JL hadn't abided by

   19   the peace treaty and there were many other things that were

   20   happening that were not as usual.

   21   Q     And this sort of unusual, I think you said uncomfortable

   22   relationship, did this develop before or after the Panama

   23   shipment that was seized?

   24   A     Afterwards.

   25   Q     What happened as a result of this uncomfortable



                       CMH      OCR      RMR       CRR      FCRR
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                       Zambada Garcia - direct - Parlovecchio                949


    1   relationship between your brother Mayo, Chapo and the Beltran

    2   Leyvas?

    3   A     Well, time went by and there came a time when they

    4   declared war.

    5   Q     And just prior to that, did Chapo and your brother Mayo

    6   do any drug business with the Beltran Leyvas after this

    7   uncomfortable relationship developed?

    8   A     Not that I remember.      The trust they had with Arturo

    9   before didn't exist anymore.       There were certain little

   10   details that my brother Mayo nor Chapo nor I liked or Nacho

   11   Coronel.

   12               (Continued on next page.)

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                           Zambada - direct - Parlovecchio                   950


    1   BY MS. PARLOVECCHIO:      (Continuing.)

    2   Q     After this happened, were the Beltran-Leyvas considered

    3   part of the Sinaloa Cartel anymore?

    4   A     Well, it wasn't until the war was finally declared in

    5   2008 that things then before were sort of more at a

    6   superficial level.

    7   Q     Now, around this time in 2008, was your nephew Vicente

    8   part of the cartel?

    9   A     Well, you know in a way he was directly involved to that.

   10   He was my brother's son.

   11   Q     Where was he located?

   12   A     In Culiacan, Sinaloa.

   13   Q     Briefly I'm going to go over to the board and let's talk

   14   about what the Sinaloa Cartel looked like after the war with

   15   the Beltran-Leyvas.

   16               So, after war was declared was Arturo Beltran-Leyva

   17   part of the cartel any longer?

   18   A     No.   No, excuse me.

   19   Q     How about Hector Beltran-Leyva?

   20   A     Not him.

   21   Q     Arturo Beltran-Leyva?

   22   A     No.

   23   Q     And you testified that your nephew was a part of the

   24   cartel at this time?

   25   A     Yes, he was involved.



                                  SN      OCR      RPR
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                           Zambada - direct - Parlovecchio                   951


    1   Q     Does this fairly and accurately represent the Sinaloa

    2   Cartel in 2008 after the war with the Beltran-Leyvas began?

    3   A     Exactly.

    4   Q     Now, just prior to full-blown war breaking out, were

    5   there any murders as a result of the uncomfortable

    6   relationship between your brother, Mayo, Chapo and the

    7   Beltran-Leyvas?

    8   A     That's right.

    9   Q     Who is Nemecio?

   10   A     He was a SIEDO commander.

   11   Q     Did he work for any drug traffickers?

   12   A     He worked for Arturo Beltran.

   13   Q     I'm going to direct your attention to 2007.         To your

   14   knowledge did anything happen to Nemecio?

   15   A     They killed him.

   16   Q     Are you aware of what led to his death?

   17   A     Well, this man started telling his other colleagues in

   18   the police that he was going to finish off my brother Mayo and

   19   Chapo, that he was going to trap them and kill them.

   20   Q     Did you learn about a plan to kill Nemecio?

   21   A     That is right.

   22   Q     How did you learn about it?

   23   A     My brother and I talked and he said, look, this is what's

   24   happening.    He said to me, haven't you heard anything?         I

   25   said, no, but I can ask.       And I investigated and it turned



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                            Zambada - direct - Parlovecchio                    952


    1   out, yes, that this man was saying that he was going to finish

    2   off my brother and Chapo; that he was going to trap them and

    3   kill them.

    4   Q     Nemecio was saying that?

    5   A     Yes, Nemecio was saying that about my brother and about

    6   Chapo.   And my brother said, well, I'm going to go to Sinaloa

    7   and then I will come back.       Let's see what happens.      One day

    8   he spoke to me on the radio, and he said, you know what?           I

    9   already talked over here and I want you to tell Mechudo to go

   10   forward with that matter that I spoke to him about.           And I

   11   said, look, tell him yourself.       Mechudo was coming with me

   12   precisely at that moment.       He and I were coming together from

   13   the airport.

   14   Q     And this was Mayo speaking to you; is that right?

   15   A     Yes, he was speaking to me on the radio.         And I passed

   16   the radio to him and I said, listen, I want you to speak to my

   17   brother, with my brother about a matter that he wants to put

   18   you in charge of.

   19   Q     You passed the radio to who?

   20   A     To Mechudo.    They said hello to each other.       He gave the

   21   radio back to me and he said -- he explained to Mechudo what

   22   this is all about.

   23   Q     Who explained it?

   24   A     My brother Mayo.

   25   Q     What happened next?



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                           Zambada - direct - Parlovecchio                    953


    1   A     I told Mechudo who this was about and what was going on

    2   with that commander and they killed him.

    3   Q     What did Mayo about -- during this discussion what did

    4   Mayo say about who ordered this murder?

    5   A     Well, he said, well, I already talked over here.          I spoke

    6   over here and that means with my Campa Chapo because who else

    7   could it be with.

    8   Q     Over here, where is "here"?       What did you understand that

    9   to mean?

   10   A     He was in Sinaloa.

   11   Q     Did you ultimately learn the circumstances of Nemecio's

   12   murder?

   13   A     That's right.

   14   Q     How did you learn about it?

   15   A     Well, when they killed him, Mechudo said notify the

   16   bosses over there that it's all done.

   17   Q     What bosses over there?

   18   A     Referring to my brother, to Chapo, right?

   19   Q     Did Mechudo tell you where Nemecio was murdered?

   20   A     Yes, he told me that they killed him over in the southern

   21   section in the area the Cuapa area, at a traffic light.

   22   Q     What happened after Nemecio was killed?

   23   A     Well, Arturo spoke to me.      He told me that he wanted to

   24   see me so I went to see him and he was very upset.           And he

   25   complained and he said why did you kill Nemecio and I said to



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                           Zambada - direct - Parlovecchio                   954


    1   him, I didn't kill anybody, Arturo.        And he said to me, well

    2   then who did kill him?      I don't know anything, ask my brother,

    3   ask my Campa Chapo, maybe they know something.          And he said I

    4   had just paid several million dollars and now they go and kill

    5   him, he said to me.      And I said I don't know anything, Arturo.

    6   Q     Why did you tell Arturo that you didn't know anything?

    7   A     Because I had no reason to tell him anything.

    8   Q     What did you do after this conversation with Arturo

    9   Beltran?

   10   A     I commented to my brother what had happened.         I said

   11   Arturo is upset.     And he said, well, why?      And I said, well,

   12   because apparently he gave him several million dollars and

   13   then what use was it, what good was it because they killed him

   14   almost right afterwards.       And he said, oh, so he give him that

   15   so he would pick up and kill my Campa Chapo and pick us up?

   16   And I said to him, what can I tell you?

   17   Q     How if at all did Mayo's and Chapo's relationship change,

   18   if at all, after this Arturo Beltran incident?

   19   A     My brother said, be careful if you see Arturo, try not to

   20   see him.    If you do, let me know.      We all have to be very

   21   careful because I don't like this at all, he said.

   22   Q     Who is Roberto Velasco?

   23               THE COURT:    Where are you; are you at 10 to 15

   24   minutes?

   25               MS. PARLOVECCHIO:     No, Your Honor.



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    1               THE COURT:    Is this a good breaking time?

    2               MS. PARLOVECCHIO:     Yes.

    3               THE COURT:    Ladies and gentlemen, we are going to

    4   have lunch.    Your lunch has been delivered.       Please be sure

    5   not to discuss the case between yourselves.         We will see you

    6   at 1:50.

    7               (Jury exits.)

    8               THE COURT:    Recess until 1:50.

    9

   10               (Luncheon recess taken at 1:00 p.m.)

   11

   12               (Continued on the following page.)

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                           Zambada - direct - Parlovecchio                   956


    1                    A F T E R N O O N      S E S S I O N

    2                              (In open court.)

    3                  (The Hon. Brian M. Cogan, presiding.)

    4                            (Defendant present.)

    5               (Jury enters.)

    6               THE COURT:    Everyone be seated and we will continue.

    7   CONTINUED DIRECT EXAMINATION

    8   BY MS. PARLOVECCHIO:

    9   Q     Mr. Zambada, who is Roberto Velasco?

   10   A     He was another commander who worked SIEDO.

   11   Q     Directing your attention to 2007, did Roberto Velasco

   12   work with any drug trafficking organizations at that time?

   13   A     That's right.

   14   Q     Who did he work for?

   15   A     For Arturo Beltran-Leyva.

   16   Q     Did you become aware of a plot to kill Roberto Velasco?

   17   A     That's right.

   18   Q     How did you learn about this murder plot?

   19   A     Well, Nacho Coronel told me that this commander was

   20   pretty much working in attacking Chapo's people and the

   21   entirety of the Sinaloa Cartel.

   22   Q     What did Nacho Coronel tell you about who wanted Roberto

   23   Velasco killed?

   24   A     That he was sending the message on behalf of Chapo and if

   25   I could help with by telling Mechudo to take care of that



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                           Zambada - direct - Parlovecchio                    957


    1   matter.

    2   Q     Nacho is sending this message on behalf of Chapo?

    3   A     That's what he told me.

    4   Q     What did you say after Nacho Coronel told you about

    5   killing Roberto Velasco?

    6   A     Well, I asked -- I called my brother Mayo on the radio

    7   and I asked him if he knew anything about this guy who had

    8   asked me for a favor from El Chingadazo and an interpreter

    9   asked Bolanos and I said the message is from Mechudo.

   10   Q     Mr. Zambada, who is Chingadazo in this conversation?

   11   A     Well, that's what my brother Mayo and I would refer to

   12   Nacho Coronel over the radio.       And Bolanos was about Chapo?

   13   Q     And what does the term Chingadazo mean?

   14   A     Well, you know, something that is great.         When you are

   15   feeling great, I'm like Chingadazo and he would always use

   16   that word to say he was doing phenomenal.

   17   Q     Who would use that word?

   18   A     Nacho Cornell.

   19   Q     So you are using the term Chingadazo to refer to Nacho

   20   Coronel?

   21   A     Exactly.

   22   Q     And Bolanos to refer to the defendant?

   23   A     Exactly.

   24   Q     What is the purpose of using those terms to refer to

   25   Nacho Cornell and the defendant?



                                  SN      OCR      RPR
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    1   A       So that if there were any interception of the radio

    2   communications they wouldn't know who we were talking about.

    3   Q       Did you play a role in this murder of Roberto Velasco?

    4   A       Well, yes.   Once I spoke to my brother and my brother was

    5   saying to me, well, if that Chingarazo guy was telling you and

    6   if he is telling Bolanos then you don't even need to ask me he

    7   said.    Go ahead, go forward.     Do that favor for them and don't

    8   even ask that.

    9   Q       What did you do next?

   10   A       Well, I told Mechudo that they were asking for that

   11   favor, right?     Mechudo told me, listen, that's okay, but we

   12   need some help to locate him.       Tell Bayardo to help me because

   13   he must know who he is because he works with the same agency.

   14   Q       Just to be clear, can you briefly explain who Bayardo is?

   15   A       Bayardo was a commander who worked for the Sinaloa

   16   Cartel.

   17   Q       Now, what ultimately happened to Roberto Velasco?

   18   A       He was killed.

   19   Q       How do you know about this?

   20   A       There came the time that Mechudo told me that, let the

   21   bosses know that everything is ready.

   22   Q       When he said, let the bosses know that everything is

   23   ready, what did you understand Mechudo to mean?

   24   A       The same thing, for me to let my brother know and Chapo

   25   know.    That's what that phrase means.



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                           Zambada - direct - Parlovecchio                   959


    1   Q     What did Machado tell you the murder of Roberto Velasco?

    2   A     He also told me to tell them that he was going to take a

    3   leave for about 30 days because he had been injured.           He said

    4   they sort of, you know, just hit me right here.          There's a

    5   scratch and I'm with the doctor right now and I need to have

    6   surgery.

    7   Q     Mechudo said this?

    8   A     Yes, of course.     He said I need about 30 days to rest.

    9   Q     Did you deliver the news to your brother and Chapo about

   10   Velasco's murder?

   11   A     Yes.   And I also called my Campa Nacho and told him that

   12   things were ready.

   13   Q     Did you ever learn the circumstances of Roberto Velasco's

   14   murder?

   15   A     Nacho told me that they had killed him when he was

   16   leaving towards Tacuba at the building parking lot.

   17   Q     I'm now going to direct your attention to January 2008.

   18   Did anything happen at that time with regard to the conflict

   19   with the Beltran-Leyvas?

   20   A     That's right.

   21   Q     What happened?

   22   A     Well, they arrested Alfredo Beltran.        I don't remember

   23   the date, but it was towards the beginning of the year.           And

   24   after that, I think it was about two or three weeks later, the

   25   war started.



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                           Zambada - direct - Parlovecchio                   960


    1   Q       During this full-blown war, did you become aware of a

    2   plan to murder a Venezuelan man name Raul?

    3   A       That's right.

    4   Q       How did you learn about this?

    5   A       Well, the war had already started.       It had been declared

    6   and Raul was working for Arturo Beltran.         Before that, he had

    7   been working for us, for the Sinaloa Cartel and he knew a lot

    8   about locations, our people, especially in Mexico City.           And

    9   my brother told me well, if Raul betrayed us we have to kill

   10   him.

   11   Q       What, if anything, did you do to assist in this murder

   12   plan?

   13   A       Well, I told Mechudo that there was a kill order and he

   14   asked, well, how did we get him.        And since he was Venezuelan

   15   we installed a device at the airport through Bayardo so we

   16   could detect him when he was about to travel.

   17   Q       What happened to Raul?

   18   A       Bayardo detected him one day that he was going to travel

   19   and he took him in and he gave it up to Mechudo and he was

   20   killed.

   21   Q       Now, you testified earlier that one of the original

   22   Beltran-Leyva targets that Chapo and your brother Mayo

   23   identified in that mountain meeting in 2007 was someone named

   24   Rafita.    Who is Rafita?

   25   A       Rafita was a commander with the judicial police, the



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                           Zambada - direct - Parlovecchio                   961


    1   state.   He was the most dangerous sicario that Arturo Beltran

    2   had.

    3   Q      Did you become aware of a plan to kill Rafita?

    4   A      That's right.

    5   Q      How did you learn about the plan to kill Rafita?

    6   A      Well, just the same way, my Campa Nacho told me that

    7   Rafita had to be killed.       That was the message he was getting.

    8   Q      Approximately when did you have this conversation with

    9   Nacho?

   10   A      Beginning 2008, exactly right after the war broke out.

   11   Q      Where were you when you had this conversation with Nacho?

   12   A      In Mexico City.    At this time Nacho would spend a lot of

   13   time with me in Mexico City.

   14   Q      What, if anything, did Nacho tell you about why they

   15   wanted Rafita dead?

   16   A      Well, because the most dangerous sicario that Arturo had

   17   was Rafita.    He had people with him from the judicial police.

   18   They had the power to detain anybody they wanted and to

   19   disappear them without much work.

   20   Q      Did Nacho tell you who wanted Rafita dead?

   21   A      Yes, he told me that my brother and Chapo were the ones

   22   sending the message.

   23   Q      What role did you play in Rafita's murder?

   24   A      Well, I told Mechudo that they had sent that message and

   25   Mechudo told me the first one that is actually after him.            I



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                           Zambada - direct - Parlovecchio                     962


    1   am also taking care and watching over my shoulder.

    2   Q      Just to be clear, who ordered the murder of Rafita?

    3   A      Well, what my Campa Nacho told me was that the message

    4   came from my brother and Chapo.

    5   Q      Did you learn whether Rafita was killed?

    6   A      That's right.

    7   Q      How did you learn?

    8   A      Well, Mechudo told me that in the end they have killed

    9   him, right?    They had been following him for many days.         He

   10   told me, I found out where he lived and he said, well, you

   11   have to devise a plan so we can force him to come out because

   12   he had a lot of people with him, around him.

   13   Q      And just to be clear, Mechudo is telling you they had

   14   devised a plan for Rafita to come out?

   15   A      For Rafita to come out of the house.       Because whenever

   16   Rafita was alone at the house and the bodyguards would leave

   17   him there at the house and they would leave.

   18   Q      What else did Mechudo tell you?

   19   A      He told me that they had done a simulation saying that

   20   one of his kids had been in an accident right after he was

   21   leaving for school as he used to leave for school every single

   22   day.   And that they had sent a sicario to the area and to

   23   really step on the brakes so that everyone could hear that

   24   something had happened.        And he sent another one to go knock

   25   on his door to pretty much yell at him and tell him that they



                                  SN       OCR     RPR
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                           Zambada - direct - Parlovecchio                   963


    1   had just crashed into his son who had just left for school.

    2   Q     I'm going to stop you right there, go to whose door to

    3   tell whom?

    4   A     That was -- that was Rafita's house, his door.          The boy

    5   had just left his home and a sicario went all the way up to

    6   his door and when they opened he just yelled, your kid was

    7   just in an accident and that was the kid who had just left

    8   home for school.     So Rafita ran out to go look for the boy and

    9   that's where they killed him.

   10

   11                (Continued on the following page.)

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                         Zambada Garcia - direct - Parlovecchio              964


    1   BY MS. PARLOVECCHIO:       (Continuing)

    2   Q       Now, just to be clear, was Rafita's son harmed in any

    3   way?

    4   A       No.    The boy didn't even realize that anything happened.

    5   He's just going on to school.

    6   Q       Did you inform anyone about Rafita's murder?

    7   A       Yes.

    8   Q       Who did you inform?

    9   A       I told my brother and also Nacho Coronel.

   10   Q       What did Nacho Coronel say when you informed him that

   11   Rafita had been killed?

   12   A       He said that that's great, he was one of the most

   13   important targets from the war.

   14   Q       I'm going to direct your attention now to the summer of

   15   2008.    What, if any, cocaine shipments did you plan around

   16   that time?

   17   A       I planned one that was coming from Colombia via a

   18   submarine.

   19   Q       When you say the cocaine was being sent by submarine, do

   20   you mean an actual submarine?

   21   A       No -- well, it's a submarine, but it's, how do you call

   22   that, it could be a homemade submarine.          It is, it's not a

   23   real submarine.        It's a vessel that can submerge about 2 to

   24   3 meters deep, but it's very rustic.

   25   Q       Where did you get the submarine?



                         CMH      OCR     RMR      CRR      FCRR
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                        Zambada Garcia - direct - Parlovecchio               965


    1   A       They built it in Colombia.

    2   Q       Approximately how much does a submarine of that nature

    3   cost?

    4   A       At that time, they were costing $1 million.

    5   Q       Now, what was the purpose for using a submarine to

    6   smuggle cocaine?

    7   A       Well, while this vessel is traveling, going towards

    8   Mexico, the satellite can't detect either the vessel or the

    9   wake.

   10   Q       What did you do to organize this submarine shipment?

   11   A       I got together the capital for more or less two and a

   12   half tons, two tons and the Colombian side was going to put in

   13   another two and a half to complete the five.

   14   Q       So just to be clear, approximately how much cocaine did

   15   the submarine shipment you planned contain?

   16   A       Five.

   17   Q       Five what?

   18   A       More or less 5, 10 tons of cocaine.

   19   Q       Who invested in the submarine shipment you planned?

   20   A       I invested myself, my workers, my brother Mayo and

   21   $1 million that he told me Chapo had given him to invest also.

   22   Q       And you said that the defendant had invested $1 million

   23   into your submarine shipment?

   24   A       That's right, exactly.

   25   Q       Approximately how kilos is that?



                        CMH     OCR      RMR       CRR      FCRR
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                       Zambada Garcia - direct - Parlovecchio                966


    1   A     Around, more or less 330.

    2   Q     What happened to the submarine shipment?

    3   A     The submarine failed.      They intercepted it.      It was

    4   seized by the American Coast Guard.

    5   Q     How did you learn about it getting seized by the American

    6   Coast Guard?

    7   A     Well, I had a contact in interception who worked with the

    8   organization and I notified him that the submarine wasn't

    9   showing up and the crew wasn't answering.         So he started

   10   searching for it through this person who worked for us and he

   11   told me a couple of days later that they had intercepted it.

   12   He said:    I think it's in Costa Rica more or less.

   13   Q     Approximately when was the submarine seized?

   14   A     It should have been around September 2008.

   15   Q     After you learned that your submarine was seized, who did

   16   you speak to?

   17   A     I spoke with Nacho.      And I said:    God, the submarine

   18   shipment that I was waiting for failed.

   19               And he said:      How do you know?

   20               And I said to him:     I have a friend in interception

   21   and he's letting me know that they intercepted it.

   22               And he said to me:     Do you really have a friend

   23   there?

   24               I said to him:     Of course.    One of the people who's

   25   there is a friend of mine, I said to him.



                       CMH      OCR       RMR       CRR     FCRR
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                       Zambada Garcia - direct - Parlovecchio                 967


    1                And he said:     Well, then help us out because there's

    2   a whole line coming behind yours.

    3                And I said:    What do you mean?

    4                And he said:     One's coming from me.    He told me:

    5   One for Genaro.      Another one for your brother.      And another

    6   one for Chapo, he told me.       It's four others that are coming,

    7   navigating.

    8                And I said:    Well, I can help you out.

    9   Q     Did you learn about whether these other submarine

   10   shipments arrived to Mexico?

   11   A     Yes.    And, yes, and the first one came in for Nacho, then

   12   my brother's, then Genaro's, three in a row, and the last one

   13   was for Chapo and I really don't know what happened with that

   14   one because it didn't come into my warehouses in Mexico City.

   15   Q     Just to be clear, did the cocaine from the other

   16   submarine shipments come to your warehouse?

   17   A     Yes.    The transport made a stop there at the warehouses

   18   in Mexico City to continue on.

   19   Q     Approximately how much cocaine was contained in those

   20   shipments?

   21   A     One of them, five.      Another one, six.    Each one was

   22   bringing in between five and six tons.

   23   Q     Approximately when did these other submarine shipments

   24   arrive in Mexico?

   25   A     Could you repeat that question, please?



                       CMH      OCR       RMR      CRR      FCRR
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                       Zambada Garcia - direct - Parlovecchio                968


    1   Q     Approximately when did these other submarine shipments

    2   that you just described arrive in Mexico?

    3   A     Four or five days later.      The first one arrived and the

    4   others arrived, like, a week later.

    5   Q     And was that still in September 2008?

    6   A     Yes, it was that same time period.

    7   Q     What was your understanding of where this cocaine was

    8   destined to go?

    9   A     To the United States.

   10   Q     I'm going to turn your attention back to the war with the

   11   Beltran Leyvas in 2008.       During this part of the war, was

   12   anyone in the Beltran Leyva organization outside of Mexico

   13   City targeted by the cartel?

   14   A     That's a question I don't have clear.        On the Beltran

   15   Leyva side?

   16   Q     On the Beltran Leyva side.

   17   A     In Sinaloa?

   18   Q     Yes.

   19   A     Any Beltran Leyva who lived in Sinaloa was a main target

   20   or Beltran.

   21   Q     Now, you testified earlier that the beginning of the full

   22   blown war was after Alfredo Beltran Leyva was arrested at the

   23   beginning of 2008.

   24   A     That's right.

   25   Q     Did you learn about what happened on the first day of the



                       CMH      OCR      RMR       CRR      FCRR
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                       Zambada Garcia - direct - Parlovecchio                969


    1   war with the Beltran Leyvas in Sinaloa?

    2                MR. PURPURA:       Objection.

    3                THE COURT:    Now, the question is did he learn.       Yes

    4   or no or he doesn't remember.

    5   A       Yes, of course.    He notified me that 12 people had been

    6   killed the first day it started.

    7   Q       Can you explain how you learned that?

    8   A       Well, Nacho Coronel and my nephew Vicente commented that

    9   to me.

   10   Q       Where were the 12 people from the -- I'm sorry.        Let me

   11   step back.

   12                These 12 individuals you testified were killed, what

   13   organization were they associated with?

   14   A       With Beltran Leyvas.

   15   Q       Where were they killed?

   16   A       They're in Culiacan city.

   17   Q       What, if any, updates did you receive from deaths in

   18   Culiacan during the war with the Beltran Leyva organization?

   19   A       Well, in Culiacan, a lot of people started dying because

   20   it was a war amongst Sinaloans.           That first day they told me

   21   around 12 people died on the Beltran Leyva side today, more or

   22   less.

   23   Q       Who would tell you about what was happening in Culiacan

   24   during the war?

   25   A       Well, Nacho Coronel who was the one who had the most



                       CMH        OCR       RMR      CRR     FCRR
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                        Zambada Garcia - direct - Parlovecchio               970


    1   contact with me on a personal level and my brother, on the

    2   radio, my nephew Vicente, and my brother sometimes also.

    3   Q     To your knowledge, approximately how many people were

    4   killed during this war with the Beltran Leyvas before your

    5   arrest?

    6               MR. PURPURA:        Objection.

    7               THE COURT:      Overruled.

    8   A     I can't give an exact number but there were a lot of

    9   people killed.        It must have been hundreds, hundreds.

   10   Q     Based on your experience, how did the war with the

   11   Beltran Leyvas compare with the other cartel wars during the

   12   time you were with the Sinaloa Cartel?

   13   A     Uglier, bigger.

   14   Q     How so?

   15   A     Because it was a war among our own people, between

   16   Sinaloans, between people who were from the same city, so it

   17   became something which was very sad.

   18               MS. PARLOVECCHIO:       May I have a moment, Your Honor?

   19               THE COURT:      Yes.

   20               (Pause.)

   21               MS. PARLOVECCHIO:       No further questions.

   22               THE COURT:      Do you still need a little time?

   23               MR. PURPURA:        We do, Your Honor, five minutes.

   24

   25



                        CMH       OCR       RMR      CRR    FCRR
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                     Zambada Garcia - direct - Parlovecchio                 971


  1               THE COURT:    All right.    Ladies and gentlemen, we are

  2   going to take a short break until 2:45.           Please don't talk

  3   about the case among yourselves.        I will see you in about

  4   12 minutes.

  5               (Jury exits.)

  6               THE COURT:    Okay.   Recess.    2:45.

  7               (Recess taken.)

  8               (Continued on next page.)

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                                    8013

                        J. Zambada Garcia - cross - Purpura                972


  1               THE COURT:    All right.     Let's have the jury,

  2   please.

  3               (Jury enters.)

  4               MR. PURPURA:    Your Honor, thank you.

  5               I'm going to retrieve a picture quickly.

  6               THE COURT:    Okay.

  7               MR. PURPURA:    I should have done this before.

  8   CROSS-EXAMINATION

  9   BY MR. PURPURA:

 10   Q     Mr. Zambada, I'm going to show you a picture, Government

 11   Exhibit 99.

 12               That's obviously you; is that correct, sir?

 13   A     Yes, sir.

 14   Q     This photograph is one of your booking photographs when

 15   you were arrested in 2008; is that correct?

 16   A     Correct.

 17   Q     So, this would have been the way you looked when you were

 18   out there trafficking in drugs in 2008, correct?

 19   A     Correct.

 20   Q     Sir, I'm just going to ask you a few questions about your

 21   testimony today.     You started to talk about an air strip

 22   somewhere in Sinaloa where yourself and Mayo your brother and

 23   your wife landed in a plane; do you recall that?

 24   A     Yes, sir.

 25   Q     That was approximately 2003, correct?



                               LAM       OCR      RPR
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                        J. Zambada Garcia - cross - Purpura                973


  1   A      Correct.

  2   Q      And you went into detail.     When that plane landed, your

  3   wife got out and you saw Mr. Guzman was there, correct?

  4   A      That's correct.

  5                THE COURT:    Mr. Purpura, I don't want to limit you,

  6   but if you're going to walk, we should give you the lapel mic.

  7   It's up to you whether you want to stay or we give you a lapel

  8   mic.

  9                MR. PURPURA:   Judge, I seem to stray.

 10                THE COURT:    Let's give you a mic, then.

 11                (Pause in proceedings.)

 12   Q      So, sometime in 2003, we have this air strip.

 13                Describe, what does the air strip look like?

 14   A      It was an air strip that was right on the highest point

 15   of the mountain.     It was some sort of mesa with pine trees on

 16   the sides.

 17   Q      And that's something that the pilot is able to see on his

 18   way in on the plane, correct?

 19   A      Well, he had to sort of find how to go in because it

 20   wasn't that easy for him to see it.

 21   Q      And then when you land, how many people are outside?

 22   A      Approximately 30.

 23   Q      Thirty.    So there's 30 plus the people that you landed

 24   with, correct?

 25   A      Correct.



                                LAM      OCR      RPR
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                        J. Zambada Garcia - cross - Purpura                974


  1   Q     How about jeeps?     You said the house, the finca, was some

  2   distance away, correct?

  3   A     Yes, it was approximately about two kilometers away.

  4   Q     So, how were you supposed to get to the finca, to the

  5   house?

  6   A     This time around, we were just going to go greet the

  7   Defendant right there on the air strip.

  8   Q     Did you see any cars?

  9               I guess that's an easier question.        Any jeeps?   Any

 10   tanks?    Anything?

 11   A     ATVs, sir.

 12   Q     And then a military helicopter flew by, right?

 13   A     Exactly.

 14   Q     And it actually circled, as you testified to, correct?

 15   A     It was sort of hovering for a time.

 16   Q     Hovering.    So, you could see the copter right there,

 17   right?

 18   A     You could hear the sound and then you could see it far

 19   away as it was actually leaving, but for a time it did stop

 20   and you could hear the sound.

 21   Q     When it stopped and it was hovering over where you were,

 22   you were nervous.

 23   A     It was a matter of seconds, yes.

 24   Q     And this is a military helicopter, and they have those

 25   big portals where they have literally machine guns in them,



                               LAM       OCR      RPR
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                        J. Zambada Garcia - cross - Purpura                975


  1   right?

  2   A     I didn't see any machine guns.       I just saw when he went

  3   like this, he was actually over there.

  4   Q     So, it just flew by.

  5   A     It flew by.

  6   Q     Correct me if I'm wrong, but before when you testified I

  7   thought you said it was circling above and Mr. Guzman gave you

  8   a gun and you all ran to trees.

  9   A     I testified that the helicopter for a time, it sort of

 10   stopped for a while because that sound had stopped for a

 11   moment.     I don't know if it really circled around or what

 12   happened.

 13   Q     This was at Las Colorados?

 14   A     Yes, sir.

 15   Q     And Mr. Guzman, you visited there again, I should say; is

 16   that correct, is that your testimony?

 17   A     Yes, sir.

 18   Q     So, no one moved because the military helicopter was

 19   supposedly there, right?

 20   A     No.

 21   Q     And then you next testified to -- you jumped to a period

 22   from 2004 to 2008, when you, yourself, were selling cocaine

 23   for Mexico City, right?

 24   A     That's right.

 25   Q     And regardless what your brother Mayo was doing at that



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                           J. Zambada Garcia - cross - Purpura             976


  1   time or not, you had your own customers during 2004 and 2008

  2   when you were selling cocaine, correct?

  3   A     Yes, sir.

  4   Q     And according to you, this head of the Sinaloa cartel,

  5   El Chapo, needed to buy from you amounts of cocaine in 2004 to

  6   2008, correct?

  7   A     That's right.

  8   Q     So, on this diagram that the Government put up there,

  9   your picture, if you're supplying Chapo, you should be on top

 10   of him; right, you're the supplier?

 11                 How's that look?

 12   A     Fine.

 13   Q     Good enough.

 14                 So, you really don't belong here, you belong there

 15   on top, correct?

 16                 Yes?

 17                 Cat got your tongue?

 18   A     I'm underneath him in the Sinaloa cartel when it comes to

 19   being a leader.

 20   Q     Let me ask you about Julio Beltran.         That was one of the

 21   graphic murders you described.        You indicated it was your

 22   understanding that Julio Beltran was struck so many times by

 23   so many projectiles that his head was literally hanging off to

 24   the side, right?

 25   A     That's what I was told.



                                  LAM     OCR     RPR
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                       J. Zambada Garcia - cross - Purpura                  977


  1   Q     And what you told the ladies and gentlemen of the jury

  2   today under oath was that Arturo Beltran wanted to kill Julio,

  3   correct?

  4   A     That's right.

  5   Q     And, of course, this is silly, there's no videos of this

  6   when you're talking to anybody, there's no tape recordings of

  7   any of this when you're talking to these people back in 2008

  8   or 2004, are there?

  9   A     Not that I know of.

 10   Q     And, so, what we have is your word.

 11   A     That's right.

 12   Q     And today what you told the jury was that Arturo Beltran

 13   Levya wanted to kill Julio, that Chapo was involved in the

 14   conversation, right?

 15   A     That's right.

 16   Q     I'm going to ask you, do you recall you gave what are

 17   called "proffers"?

 18               That means you spoke to Government counsel with

 19   agents present, numerous times, and we'll get into how many in

 20   a few minutes; do you remember?

 21   A     That's right.

 22   Q     I'm going to take you back to March 4, 2015.         March 4,

 23   2015, you were in Washington, D.C., you were preparing for a

 24   trial in Washington, D.C.       And present during the interview

 25   was Amanda Liskamm, who is sitting right there with the long



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  1   blonde hair; and Andrea Goldbarg as well, sitting there with

  2   the glasses on; and your attorney was also present.

  3                 And who is your attorney?

  4   A      My attorney?

  5   Q      Yes.

  6   A      Guadalupe Valencia.

  7   Q      And Mr. Valencia was there as well, as well as FBI and

  8   DEA agents.

  9                 Do you generally remember talking to these people,

 10   sir?

 11   A      Yes, of course.

 12   Q      And specifically, you were asked about the murder of

 13   Julio Beltran; do you remember that?

 14   A      Maybe, yes.

 15   Q      And what you told them back in 2015 was Julio Beltran was

 16   killed by Mayo Zambada, and you went on to say the reason why

 17   Julio Beltran was killed:        You told those Assistant United

 18   States Attorneys and the government agents that Julio did not

 19   understand how things worked and wanted to do things his way.

 20                 MS. PARLOVECCHIO:    Objection.

 21                 THE COURT:   Sustained.

 22   Q      Do you recall telling the agents and the Government

 23   counsel what I just said?

 24                 MS. PARLOVECCHIO:    Objection.

 25                 THE COURT:   Sustained.



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                       J. Zambada Garcia - cross - Purpura                 979


  1               Start the question again.

  2               MR. PURPURA:    All right.

  3   Q     Do you recall back on March 4, 2015, telling Government

  4   counsel that Julio Beltran was killed by Mayo Zambada?

  5   A     Maybe, yes.

  6   Q     And Julio was killed -- do you recall telling the

  7   government agents at that time that Julio was killed because

  8   he did not respect Mayo's authority?

  9   A     I don't remember that.

 10               MR. PURPURA:    May I have Defense Exhibit, please,

 11   31, which is Government 44?

 12               And that's Bates stamped 548.         Just for the witness

 13   for identification as Defense Exhibit 31.

 14               And I'm going to ask the interpreter to read this

 15   paragraph to the witness.

 16               (Interpreter complies.)

 17   Q     Does that help refresh your recollection a little bit

 18   what happened when you spoke to the agents?

 19   A     It's something similar to what I said, but it's not

 20   exactly what I said.

 21   Q     Fair enough.

 22               And, now, do you recall telling the agents that

 23   Julio did not respect Mayo's authority and that's the reason

 24   he was killed?

 25   A     Well, he had actually killed Nacho Chaidez without



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  1   authorization.

  2   Q     And not once, not once in that interview in 2015, not

  3   once when you talk about Julio Beltran did you ever mention

  4   "my compadre Chapo," "Joaquin Guzman," or "El Chapo," did you?

  5               Did you?

  6   A     That's right.

  7   Q     You mentioned Aeropostal; do you remember that?

  8   A     That's right.

  9   Q     And you indicated that Aeropostal had to change their

 10   name, correct?

 11   A     Correct.

 12   Q     And the name that Aeropostal changed to, and I might have

 13   missed, it but it sounds like Aerofox, right?

 14   A     That's right.

 15   Q     And that takes paperwork, even in Mexico, right?

 16   A     Of course, yes.

 17   Q     Well, has Government counsel ever showed you that

 18   paperwork from Aeropostal or Aerofox?

 19   A     No, sir, but I saw the plane with my own eyes.

 20   Q     And we gotta believe you, right?       Correcto?

 21   A     You know.

 22   Q     And then you talked about the end of 2006, a conversation

 23   of Las Colorados, where everybody is in military garb, with

 24   El Azul, remember?

 25   A     Everyone was dressed like military people.



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  1   Q     Okay.    Now 2006, help me with my math, but that's eight

  2   years ago, right, roughly?

  3                 MR. PURPURA:   How many years ago, more?

  4   A     Twelve.

  5   Q     All right.    I need the help.     Twelve years ago.

  6   A     Okay.

  7   Q     And you remember -- at least what you testified to, you

  8   remembered El Azul -- El Azul is the handsome guy in the

  9   middle of the top row -- and that conversation you

 10   specifically remember from twelve years ago that Joaquin

 11   Guzman said to El Azul, in quotes, I need to talk to you and I

 12   have a bottle of Buchanan.

 13   A     That's right.

 14   Q     And you're telling this jury you remember that

 15   conversation of having a bottle of Buchanan twelve years ago?

 16   A     That's right.

 17   Q     And that's the truth, according to you.

 18   A     That's right.

 19   Q     And then you were asked about a Panama seizure; do you

 20   remember that?

 21   A     Yes, sir.

 22   Q     And you said that the load that was seized, somewhere

 23   close to 20 tons of cocaine, correct?

 24   A     That's right.

 25   Q     That that load belonged to Arturo Beltran Levya, Mayo



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                       J. Zambada Garcia - cross - Purpura                 982


  1   Zambada, and El Chapo, right?

  2   A     That's right.

  3   Q     That's what you told the jury, right?

  4   A     That's right, sir.

  5   Q     Now, you were also questioned about that specific

  6   incident May 2, 2002 -- 2012, excuse me.          And just so we have

  7   the time frame, in April of 2012, you were finally extradited

  8   to the United States, correcto?

  9   A     Correct.

 10   Q     And when you came to this United States of America, you

 11   wanted to cooperate completely, right?

 12   A     That's right.

 13   Q     You wanted to bare your chest to these Assistant United

 14   States Attorneys and to the FBI, DEA, or any other law

 15   enforcement agency.

 16   A     I had agreed to cooperate.

 17   Q     And you were asked specifically about this Panama

 18   seizure, and you talked about it.        That's Bates stamped 212,

 19   Defense Exhibit 14.

 20               MR. PURPURA:    And if I haven't given you the number,

 21   I apologize.     It's May 2, 2012.

 22               THE INTERPRETER:     Counsel?

 23               THE COURT:    Were you talking to the witness?

 24               MR. PURPURA:    No, your Honor, I --

 25               THE COURT:    No need to translate.



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  1                 MR. PURPURA:   I'm sorry.

  2   Q     Do you recall -- and your lawyer was present again --

  3   there was also an attorney from the Eastern District of New

  4   York from the U.S. Attorney's Office, an interpreter.

  5                 And when you talked about this seizure, do you

  6   recall telling the Assistant U.S. attorneys, the agents, that

  7   the boat belonged to Mayo; do you recall that?

  8   A     Perhaps, yes.

  9   Q     Okay.    And specifically, do you recall telling them that

 10   the drugs on the boat belonged to Mayo and Arturo Beltran

 11   Levya, no mention of me compadre Chapo, Joaquin Guzman,

 12   El Chapo?

 13   A     Perhaps.

 14   Q     And then you were asked about -- and this is just

 15   today -- you were asked about the Nemesio, N-E-M-E-S-I-O.

 16                 Do you remember being questioned about that today?

 17   A     That's right.

 18   Q     And what you told the jury was that Nemesio worked for

 19   Arturo.

 20   A     That's right.

 21   Q     And that Nemesio was planning on trapping your brother

 22   Mayo, right?     Correct?

 23   A     Correct.

 24   Q     And your compadre is Mr. Guzman, correct?

 25   A     That's right.



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                       J. Zambada Garcia - cross - Purpura                 984


  1   Q     Now, I'm going to take you back again to June 12, 2002.

  2   Government Bates stamp 264 is the exact page.

  3               Do you recall again telling Government counsel, with

  4   your lawyer present, back on June 12, 2002, when this

  5   information was fresher in your mind, that Nemesio worked with

  6   the United States Government and Mayo gave the order for

  7   Mechudo's crew to kill Nemesio?

  8   A     Perhaps.

  9   Q     And you went on to say that Nemesio was going to take

 10   down Mayo's organization and assets, correct?

 11   A     Correct.

 12

 13               (Continued on the next page.)

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                           Zambada Garcia - cross - Purpura                 985


  1   BY MR. PURPURA:       (Continuing)

  2   Q     And you were present when Mayo gave the order to kill to

  3   Benny and Mechado, correct?

  4   A     Mechudo, yes.

  5   Q     And not once in your discussion of Nemecio and the

  6   assassination did you ever mention Joaquin Guzman, El Chapo,

  7   Mi Compadre, by any other name, did you?

  8   A     Maybe not.

  9   Q     And then today again you talked about another murder of a

 10   Velasco and when you testified about that assassination, you

 11   told this jury that Nacho sent a message on behalf of Chapo,

 12   correct?

 13   A     Correct.

 14   Q     But, again, when you spoke to government counsel with

 15   your lawyer being present on June 13, 2012, do you recall

 16   telling them that Velasco was a person that Benny didn't like,

 17   do you remember that, Benny Contreras?

 18   A     Perhaps.

 19   Q     And you found out -- you recall telling them that you

 20   found out about this because Mechudo told you to tell Mayo

 21   that he completed what he was instructed to do?            Perhaps?

 22   A     Perhaps, yes.

 23   Q     And absolutely no mention of Nacho and absolutely no

 24   mention of Joaquin Guzman, El Chapo or by any other name?

 25   A     Perhaps not.



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  1   Q       And you testified this morning that you went to visit

  2   Joaquin Guzman in the mountains in 2005, the beginning of

  3   2005.    Do you remember that?

  4   A       Yes.

  5   Q       And that was soon after Arturito, his younger brother,

  6   was killed in prison, correct?

  7   A       If I'm not remembering wrong, yes, that's right.

  8   Q       This one you're right on.

  9                  MS. PARLOVECCHIO:      Objection.

 10                  THE COURT:    Sustained.     Sustained.    Put another

 11   question.

 12                  MR. PURPURA:       I apologize.

 13   Q       As a matter of fact, Arturito was shot in prison on New

 14   Year's Eve of 2014, correct?

 15   A       I think so.

 16   Q       And you went up there to give your condolences to Joaquin

 17   Guzman, correct?

 18   A       That's right.

 19   Q       And where was the body of Arturito?

 20   A       Well, when I went to see him, he told me that he had had

 21   him there, had it there for three hours on that landing strip

 22   waiting for him, Chapo.

 23   Q       Do you recall, again, June 22, 2018, Bates stamp 687,

 24   telling government counsel that you, the people went with you,

 25   brought Pollo from the funeral home and brought the body to



                       CMH        OCR       RMR        CRR     FCRR
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                             Zambada Garcia - cross - Purpura              987


  1   Chapo?

  2   A      No.   They probably wrote that wrong because I said that

  3   some people had done that.

  4   Q      I'm going to show you what has been, just for

  5   identification, has been marked as Defense Photo 1, just for

  6   ID.    Take a look at that photograph.

  7                  Do you recall you were testifying Thursday about an

  8   incident which happened in May of 1993 at the Guadalajara

  9   Airport?

 10   A      That's right.

 11   Q      And at that time, a cardinal who was beloved in Mexico

 12   was executed, correct?

 13   A      That's right.

 14   Q      And he was well known in Mexico, correct?

 15   A      Yes, that's right.

 16   Q      And do you recognize the photograph I've placed before

 17   you?

 18   A      Well, that looks like a cardinal but I can't tell you

 19   that that's the one who died because I can't really tell,

 20   remember his face correctly.

 21   Q      Okay.    And the information you had was that the cardinal

 22   was, and I think you mentioned this, he was an older man,

 23   correct?

 24   A      I just said that he was a cardinal.

 25   Q      Do you know how old he was?        Do you know if he was



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  1   66 years old?

  2   A     Well, no.       I knew that he was an older person.

  3   Q     And you do know that or do you know that, this is the

  4   question, that cardinals wear what is called a zucchetto,

  5   Z-U-C-C-H-E-T-T-O, which is the red cap?

  6   A     No, I just know now that you're telling me.

  7   Q     And what you testified to was the cardinal was mistakenly

  8   killed, that's the information you received?

  9   A     That's what I was told.

 10   Q     Okay.    Just for identification only, this is Guzman Photo

 11   2.

 12                 Back in 1991, 1992, 1993, when you say you saw

 13   Mr. Guzman, he's about the age you see -- strike that.

 14                 Do you recognize that person in that photograph?

 15   A     Yes, that's him.

 16   Q     "Him"?    You have to be a little more specific.

 17   A     Chapo.

 18                 MR. PURPURA:       Okay.   Move to admit Defense 2 photo.

 19                 MS. PARLOVECCHIO:      No objection.

 20                 THE COURT:    Received.

 21                 (So marked.)

 22   Q     And now looking at the photo, does this accurately depict

 23   what Mr. Guzman looked like back in perhaps '91, '92, '93 when

 24   we were talking about him?

 25   A     I never talked to Guzman in this time.



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  1   Q     You didn't meet him until 2001?

  2   A     I'm sorry.      I didn't understand your previous question

  3   clearly.

  4   Q     In 2001, did Mr. Guzman look like that or was he older at

  5   that point?

  6   A     Oh, 2001?      A little older than that and somehow a little

  7   different.

  8   Q     Clearly, he doesn't look like -- to you, he doesn't look

  9   like an older 66 year old man in that photograph, does he?

 10   A     In this picture?      No.

 11   Q     Yes.    Thank you.

 12                And you were not present at the Guadalajara Airport,

 13   were you?

 14   A     No.

 15   Q     And you don't know what kind of car the cardinal was in,

 16   do you?

 17   A     What I know is that he had a car that was just like the

 18   one Guzman had.       That's what I was told.

 19   Q     What kind of car did Guzman have?

 20   A     I don't remember.         I think that it could have been a

 21   grand marquis.       I mean from that time it would have been a

 22   good car.

 23   Q     I guess you don't know is the bottom line, correct?

 24   A     Well, but I was told that the car in which he was, that's

 25   the one that they got confused with the cardinal's.



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                           Zambada Garcia - cross - Purpura                990


  1   Q       Was what?    What kind of car?

  2   A       They didn't tell me what type.     They just said the car or

  3   maybe, you know, it might have been a Grand Marquis, sir.            I

  4   don't remember.       It's been a long time.

  5   Q       Well, a Grand Marquis with clear windows, right?

  6   A       No, I don't remember that many details, not right now.

  7   Q       You testified about the murder of Ramon Arellano Felix,

  8   correct?

  9   A       Correct.

 10   Q       Have you ever seen Ramon Arellano Felix?

 11   A       Yes, of course.

 12   Q       Now, he is -- he was a rather large man, he's a big man,

 13   about 6-foot 2, correct?

 14   A       Maybe but maybe not that much.     Maybe he was taller than

 15   I am.

 16   Q       And how tall are you?

 17   A       174, more or less.

 18   Q       I'll let it go.

 19                Now, you know him by reputation as well, correct?

 20   A       That's right.

 21   Q       You know that he was a ruthless killer?

 22   A       That's right.

 23   Q       That he killed drug traffickers and innocent people?

 24   A       That's right.

 25   Q       He killed your own brother, correct?



                     CMH        OCR     RMR      CRR      FCRR
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  1   A     That's right.

  2   Q     Your brother would be Mayo's brother as well, correct?

  3   A     That's right.

  4   Q     And you loved your brother Vicente, didn't you?

  5   A     That's right.

  6   Q     And Mayo loved his brother Vicente, didn't he?

  7   A     That's right sir.

  8   Q     Plenty of motive to assassinate Ramon Arellano Felix,

  9   correct?

 10   A     That's right.

 11   Q     You also knew that he was responsible in 1997 for the

 12   massacre of 12 members in a family for a drug debt, right?

 13   A     Maybe.

 14   Q     Okay.    And there came a time when your brother in, I

 15   guess, 1990s to 1993, Mayo, was breaking off from Arellano

 16   Felix and there was some bad blood, correct?

 17   A     That's right.

 18                 MS. PARLOVECCHIO:      Objection.

 19                 MR. PURPURA:       I said '90 to '93.

 20                 THE COURT:    Overruled.

 21   Q     And you actually were serving, part of what you did was

 22   protect your brother by moving from place to place to avoid

 23   Arellano Felix and others, correct?

 24   A     Yes, I did help him doing that.

 25   Q     Another reason to kill Arellano Felix Ramon, correct?



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                           Zambada Garcia - cross - Purpura                992


  1   A     Yes.

  2   Q     Arellano Felix was wanted by the local Mexican police

  3   force, right?

  4   A     Yes.

  5   Q     By the federal police, by the Mexican military, correct?

  6   A     That's right.

  7   Q     And he made the ten most wanted fugitive list in the

  8   United States, correct?

  9                MS. PARLOVECCHIO:      Objection.

 10   Q     If you know?

 11                THE COURT:    You can answer the question.      I assume

 12   there's a good faith basis for the question.

 13                MR. PURPURA:       There is.

 14   A     That's right.

 15   Q     To your knowledge, he was always armed and he traveled

 16   with armed associates, correct?

 17   A     Perhaps, yes.

 18   Q     And what you told us was that he was shot by police,

 19   correct?

 20   A     That's what I know.

 21   Q     And that he, in fact -- at least he, in fact, shot back

 22   at the police, correct?

 23   A     That I do not recall.

 24   Q     Fair to say that this ruthless killer had a lot of

 25   enemies?



                     CMH        OCR       RMR     CRR     FCRR
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  1   A       Yes.

  2   Q       The first time that you met Joaquin Guzman according to

  3   you was sometime in 2001, is that correct?

  4   A       That's right.

  5   Q       But when you testified, you testified about Joaquin

  6   Guzman and what he was doing in 1987, 1988, 1989, 1990, 1991,

  7   '92, '93, and on, correct?

  8   A       Correct.

  9   Q       So from 1987 up until you met him, according to you, in

 10   2001, 14 years, about 14 years sound right?

 11   A       Yes.

 12   Q       And what you told the ladies and gentlemen of the jury is

 13   that the information you received about him during that

 14   14 year period of time when you didn't even meet him came from

 15   primarily El Mayo?

 16   A       That's right.

 17   Q       Obviously El Mayo is not here, is he or is he?        Take a

 18   look.

 19   A       In the picture?

 20   Q       In the picture, right.       But his body is not here, is it?

 21   A       No, sir.

 22   Q       As a matter of fact, and your brother is -- I apologize.

 23   I don't mean to be talking this way.         He can't see me.    How

 24   much older is El Mayo?          How much older is El Mayo to you?

 25   A       Twelve years.



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                           Zambada Garcia - cross - Purpura                994


  1   Q     And he's been trafficking in drugs continuously since he

  2   was a little boy right up until his 70th birthday which is

  3   now, right?

  4   A     Since he was young.

  5   Q     And never, ever arrested?

  6   A     No.

  7               (Continued on next page.)

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  1   BY MR. PURPURA:     (Continuing.)

  2   Q     But the bottom line is he's not here today; right?

  3   A     Correct.

  4   Q     And, in addition, you apparently have a very good

  5   relationship with El Azul because he seems to tell you

  6   everything; right?

  7   A     That's right, sir.

  8   Q     El Azul is not here either?

  9   A     No.

 10   Q     And to your knowledge he is deceased now; is that right?

 11   A     I might have heard that at one point in time.

 12   Q     You also received information from Arturo Beltran-Leyva,

 13   the gentleman here in the middle; correct?

 14   A     I was also his friend.

 15   Q     Okay.   And he is dead; right?

 16   A     That's right.

 17   Q     And then we have Amado Carillo-Fuentes; correct?

 18   A     That's right.

 19   Q     And he is the Lord of the Skies, right?         That's his

 20   nickname?

 21   A     That's right.

 22   Q     And he died at the hands of a plastic surgeon when he

 23   literally bled to death, right?

 24   A     Yes.

 25   Q     And the other person who you received information from,



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  1   for all of those years you testified to, was Arturito Guzman,

  2   right?

  3   A     He was also my friend.

  4   Q     Right.   And he was arrested in 2001; correct?

  5   A     I don't remember the year.

  6   Q     He was killed in prison in 2004.       Does that sound about

  7   right?

  8   A     I think so.

  9   Q     So there is really no one but you here; correct?

 10   A     Fortunately, I am alive.

 11   Q     Now, when you testified yesterday, you were asked some

 12   specific questions about a time in 2001, soon after Mr. Guzman

 13   left prison.

 14   A     That's right.

 15   Q     And 2001, that's 17 years ago?

 16   A     More or less.

 17   Q     Okay.    And I know you are college-educated; right?

 18   A     That's right.

 19   Q     And, I guess, are you gifted with the ability to have

 20   absolute verbatim recall?

 21   A     I can't guarantee you that.       I'm an old man now.

 22   Q     All right.    Well, what you told this jury yesterday is a

 23   conversation, parts of it, which you remembered some 17 years

 24   later.

 25   A     That's right.



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  1   Q     Specifically Ms. Parlovecchio asked you about the escape

  2   and the conversation you had with your brother Mayo?

  3   A     That's right.

  4               MR. PURPURA:    Just for counsel, 850.

  5   BY MR. PURPURA:

  6   Q     And you remember your brother saying, my Campa Chapo

  7   escaped?

  8   A     Yes, sir.

  9   Q     And you remember your response 17 years ago was, oh,

 10   that's good.

 11   A     Of course.

 12   Q     And then you remember the next question by

 13   Ms. Parlovecchio was, What else did you discuss during that

 14   conversation.     And that's a conversation that occurred 17

 15   years ago and your response was, He said to me, I want to ask

 16   for your support.

 17   A     That's right.

 18   Q     With all of those friends that you have inside the

 19   government, if they hear anything or you hear anything about

 20   locations or operations to let me know.

 21   A     That's right.

 22   Q     And you remember that from 17 years ago?

 23   A     That's right, sir.

 24   Q     And then your brother said to you, and I quote, We're

 25   going to go and receive my Campa Chapo.          We're going to rescue



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  1   him because they're going to grab him where he is.

  2   A      That's right, sir.

  3   Q      And again, under oath, you remember saying that 17 years

  4   ago?

  5   A      That's right, sir.

  6   Q      And then you were asked what you heard at the first

  7   meeting.    The question by Ms. Parlovecchio was, What, if

  8   anything, did you hear the defendant and your brother Mayo

  9   discuss while you were at Mayo's house that day?          And your

 10   response was, Well, I listened to them talk for a while and

 11   they were talking about their plans.        They said, Now, we're

 12   going to work.     We're together again.     It's so good that we're

 13   all fine.

 14   A      That's right.

 15   Q      And you remember that from 17 years ago?

 16   A      That's right, sir.

 17   Q      Do you remember what you ate on your birthday 17 years

 18   ago?

 19               MS. PARLOVECCHIO:     Objection.

 20   A      No, sir.

 21               THE COURT:    Overruled.

 22   BY MR. PURPURA:

 23   Q      Do you remember what you bought for your wife 17 years

 24   ago?

 25               MS. PARLOVECCHIO:     Objection.



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  1               THE COURT:    Enough.

  2               MR. PURPURA:    Fair enough.

  3   BY MR. PURPURA:

  4   Q     You were asked some questions about the second meeting.

  5   And you were asked what you heard during the discussion

  6   between supposedly Mr. Guzman and your brother Mayo.           And you

  7   recall your brother saying, Well, my brother said, look, you

  8   know, I have good infrastructure in Chiapas.          We have very

  9   good land transport.      You went on to remember that he said, My

 10   brother has very good controls here in Mexico City through the

 11   airports, things like that, and then he said we have to get

 12   together, start working together.          Do you remember that?

 13   A     Yes, sir.

 14   Q     And, finally, what you recall from 17 years ago,

 15   Mr. Guzman saying, I'm going to start again.          I'm going to

 16   organize my people.      I am going to organize my things.        There

 17   is my brother Arturo.      And there's Arturo Beltran.      So let's

 18   do this.

 19               And then you remember you actually walked away from

 20   the conversation at that point.           Do you remember that?

 21   A     More or less, that's how things were, sir.

 22   Q     And you remember that you heard this conversation and you

 23   remembered the point in the conversation 17 years ago when you

 24   walked away?

 25   A     There was a moment when I walked away.



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  1   Q     Do you know what a telenovela is?

  2   A     Yes, sir.

  3   Q     Have you ever written for them?

  4                MS. PARLOVECCHIO:    Objection.

  5                THE COURT:   Sustained, sustained.

  6   BY MR. PURPURA:

  7   Q     Speaking of movies, the escape itself in 1991, there was

  8   a helicopter according to you.       Correct?

  9   A     In 1991?

 10   Q     In 2001, I apologize.      A helicopter, remember you

 11   testified about that?

 12   A     It was used to rescue Chapo from a military operation

 13   that was going to recapture him.

 14   Q     So there was a helicopter arranged, you knew something

 15   about the coordinates so the helicopter could come in, swoop

 16   down and pick up Mr. Guzman and take him away; right?

 17   A     That's right, sir.

 18   Q     And the pilot for that helicopter is Patricio; correct?

 19   A     Yes.

 20   Q     So Patricio could be someone that the Government can go

 21   and interview and talk to to see if he was involved in getting

 22   that helicopter, putting Guzman in it and swooshing away;

 23   right?

 24   A     It could be.

 25   Q     Well, you know it can't be because you know Patricio died



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  1   a couple of years later.          Right?

  2   A     I heard that also, that he had died.

  3   Q     Yeah.    Now, there was also, what you testified to was a

  4   baptism at the Barbarino ranch; right?

  5   A     That's right, sir.

  6   Q     And you know about that -- are you Catholic?

  7                 MR. PURPURA:    Is that an appropriate question?     I'm

  8   not sure.

  9                 THE COURT:   Is there an objection?

 10                 MS. PARLOVECCHIO:      Objection, relevance.

 11                 THE COURT:   Sustained, it's not proper.

 12   BY MR. PURPURA:

 13   Q     Anyway, there was a baptism at the Barbarino ranch; is

 14   that right?

 15   A     True.

 16   Q     And you, because of your good nature, you went down and

 17   you got a priest to come up for the baptism; right?

 18   A     Yes, sir.

 19   Q     Where I come from, you've got to pay the priest.          Did you

 20   pay the priest?

 21   A     I give to him some money, several times.

 22   Q     And you told this jury that when the priest came up and

 23   saw your brother Mayo and he saw Chapo, he was surprised;

 24   right?

 25   A     That's right.



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  1   Q      And who better witness than a priest?        But you know,

  2   according to you, that priest died two or three years later

  3   too?

  4   A      That's right, sir.

  5   Q      Now, obviously -- not obviously, arranging for a

  6   helicopter and having a helicopter coming in and swooping up

  7   Mr. Guzman, El Chapo, and taking him to a hidden location,

  8   that's something you remember; right?

  9   A      I obtained the coordinates.

 10   Q      So it's something that you remember; correct?

 11   A      Yes.

 12   Q      And it's something you would want to share with the

 13   Government the first time you talked about that incident,

 14   wouldn't you?     What do you think?

 15   A      I don't know.   I don't remember.

 16   Q      Well, let me take you pack to March 6, 2014.        You're

 17   again at one of those proffer sessions in Washington, D.C.

 18   with an Assistant United States Attorney from the Eastern

 19   District of New York, with your attorney present, with an

 20   interpreter present, a DEA agent present.          Do you recall --

 21                 MR. PURPURA:    I apologize.   That is JRZG 40, Bates

 22   stamp 506.     It's Defendant's Exhibit 27 if we need it.

 23                 MS. PARLOVECCHIO:   Thank you.

 24   BY MR. PURPURA:

 25   Q      Specifically you were questioned about El Chapo and the



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  1   escape on January 19, 2001.       That's the escape they questioned

  2   you about.     And do you recall telling Government counsel and

  3   the agents that he, Chapo, went and stayed at El Barbarino's

  4   ranch.    And that he would also stay at El Azul's house.         No

  5   mention of Mayo's house.        No mention of driving in Mexico City

  6   going through a toll booth, putting a newspaper up to his

  7   face, do you recall that?

  8   A     It's something that happened, but all the other things

  9   also happened.

 10   Q     Okay.    And do you recall that the first time you go to

 11   the ranch what you told them is that you drove to the ranch

 12   with your brother and Kiki Fernandez and you went into detail

 13   that El Barbarino's son waited for you at the nearest highway

 14   exit and then led them to the ranch?

 15                 MS. PARLOVECCHIO:    Objection.    Judge, may we have a

 16   sidebar?    A brief one?

 17                 THE COURT:   Okay

 18                 (Sidebar held outside of the hearing of the jury.)

 19                 (Continued on next page.)

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                                       Sidebar                            1004


  1               (The following sidebar took place outside the

  2   hearing of the jury.)

  3               MS. PARLOVECCHIO:     Your Honor, I understand he wants

  4   to ask his recollection of what he said in these meetings, but

  5   it's starting to slide into a lot of reading from the reports

  6   which based on Judge Forrest's ruling --

  7               THE COURT:    It's been sliding there since the

  8   beginning and you have not objected until now.          If you read

  9   those procedures --

 10               MR. PURPURA:    Judge, I read them.     I read them in

 11   detail.    I'm just asking -- obviously they're detailed

 12   statements that he is making.        It's difficult and I have a

 13   right to ask him if he made that specific statement verbatim.

 14               THE COURT:    You do.

 15               MR. PURPURA:    I know.

 16               THE COURT:    But you cannot let on that you are

 17   reading from a document which purports to be, and all the jury

 18   knows is, a statement of his, which it is not.

 19               MR. PURPURA:    What I am telling the court is what I

 20   am reading from is my yellow scribbled page of notes.

 21               THE COURT:    Of the agent's interview of him.       That's

 22   not his statement.

 23               MR. PURPURA:    I know that.

 24               THE COURT:    So you cannot make it seem to the jury

 25   that it is his statement and that is what you are doing.



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                                        Sidebar                           1005


  1               MR. PURPURA:    I read the opinion.     I did read it and

  2   I sent it to my wife as well.

  3               THE COURT:    Well, that makes it binding.

  4               MR. PURPURA:    She's a judge and she enjoyed it.

  5               THE COURT:    You have got to find a way to do it and

  6   you can do it by breaking up the question into small bits

  7   instead of the very long questions that you are asking and by

  8   not looking like you are holding his own statement there,

  9   which you are not holding.

 10               MR. PURPURA:    I won't do it.     I will break it into

 11   bits.   It's hard with the interpreter.

 12               THE COURT:    It is very hard.     That is why I am here.

 13   Are you going to finish by 4:30?

 14               MR. PURPURA:    No.

 15               THE COURT:    I will leave it to you when you want to

 16   break before 4:30 or at 4:30 but I will leave it to you.

 17

 18               (Continued on the following page.)

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  1   BY MR. PURPURA (continuing):

  2   Q     Last question.     On that interview, the very first

  3   interview on March 6, 2014, when you speak to Government

  4   counsel and the agents, did you mention anything about a

  5   helicopter?

  6   A     Maybe.

  7   Q     Well, let me show you what has been marked as Defense

  8   Exhibit 27 and see if that refreshes your recollection as to

  9   what --

 10                MR. PURPURA:   I apologize, I'm going to ask the

 11   interpreter just to read the first, second, and third

 12   paragraph.

 13                (Interpreter complies.)

 14   Q     Does that refresh your recollection that on March 6,

 15   2014, the first time you spoke to Government agents, Assistant

 16   U.S. Attorneys, about this escape, that you didn't mention a

 17   helicopter?

 18   A     I did that later as I explained how he had escaped.

 19   Q     I know you did it later.      I'm asking you the very first

 20   time you went to be honest and truthful, did you mention

 21   anything about a darn helicopter?

 22   A     Well, the truth is I don't remember if I did or if I

 23   didn't, but I just, you know, might have forgotten that

 24   detail.

 25   Q     Easy to forget a helicopter, si?



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                          J. Zambada Garcia - cross - Purpura             1007


  1   A       The helicopter existed.

  2   Q       Now, your name, your full name, is Jesus Reynaldo Zambada

  3   Garcia, correct?

  4   A       That's right.

  5   Q       And I've been informed by my Spanish-speaking colleagues

  6   that Rey, R-E-Y, means "king," right?

  7   A       That's right.

  8   Q       And your nickname is "El Rey," "The Rey," right?

  9   A       That's right.

 10   Q       And your middle name is Reynaldo, so Rey could come from

 11   there as well, right?

 12   A       I'm just Jesus, sir.

 13   Q       Okay.   Well, Jesus, who is Victor Rosas, R-O-S-A-S?

 14   A       That's my son.

 15   Q       That's not an alias you used?

 16   A       That too.    That's my alias, but that's also my son's

 17   name.

 18   Q       And you have the alias, the alternative name, of Victor

 19   Rosas, R-O-S-A-S, correct?

 20   A       That's right.

 21   Q       And with that name, you have a driver's license, correct,

 22   or you did?

 23   A       That's right, sir.

 24   Q       And with that alias name, you also had a passport in that

 25   name, correcto?



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  1   A     Correct.

  2   Q     And with that alias name, you also had a United States

  3   visa, correct?

  4   A     Correct.

  5   Q     So, like Mr. Lichtman says, you can walk amongst us,

  6   right?

  7               MS. PARLOVECCHIO:     Objection.

  8   Q     So, that allows you to come to the United States,

  9   correct?

 10   A     Yes, sir.

 11   Q     And you also have a birth certificate in that name; isn't

 12   that correct?

 13   A     Yes, sir.

 14   Q     That driver's license is a lie, right?

 15   A     It's fake.

 16   Q     The passport is a lie, correct?

 17   A     It's fake.

 18   Q     The U.S. visa's a lie, correct?

 19   A     It's also fake.

 20   Q     Birth certificate's a lie, correct?

 21   A     Those are fake papers.

 22   Q     Who is Abraham Flores?

 23   A     That's me too.

 24   Q     You have a driver's license in Abraham Flores' name,

 25   correct?



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  1   A     Correct.

  2   Q     You have a passport in Abraham Flores' name, correct?

  3   A     Correct.

  4   Q     You have a birth certificate in Abraham Flores name,

  5   correct?

  6   A     Correct.

  7   Q     And all three of those are lies.

  8   A     Victor and Abraham, they're all lies.        My name is Jesus.

  9   Q     And you use those lies because you don't want to get

 10   caught with your name, right?

 11   A     Mainly, to take care of my life.

 12   Q     You want to avoid by lying apprehension, to be arrested,

 13   correct?

 14   A     I did not know that I was wanted by the government until

 15   the day that I was arrested.

 16   Q     By the United States Government?

 17   A     Not even the Mexican one either.

 18   Q     So, does everyone in Mexico, then, have multiple names

 19   and multiple driver's license and multiple passport?

 20               MS. PARLOVECCHIO:     Objection.

 21               THE COURT:    Sustained.

 22   Q     To your knowledge?

 23               THE COURT:    Sustained.

 24               How would he know?

 25   Q     Did you use that passport in the name of Victor Rosas or



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  1   Abraham Flores?

  2   A     Yes, sir.

  3   Q     Going where?

  4   A     I went to Europe, to Central America.

  5   Q     When you go to Europe, they actually check your passport,

  6   don't they?

  7   A     That's right.

  8   Q     And, so, you lied to the customs authorities when you

  9   entered Europe, correct?

 10   A     I had a fake name.

 11                MR. PURPURA:    Good time, your Honor.

 12                THE COURT:   Ladies and gentlemen, we'll send you

 13   home for the evening.       Remember all the rules that have to be

 14   very strictly followed:         No publicity, don't read any

 15   newspapers about this case, don't watch any TV, don't do any

 16   research, don't look anything up, and absolutely stay away

 17   from social media communications or communications with anyone

 18   about the case.

 19                We'll see you tomorrow morning at 9:30.       Have a good

 20   evening.

 21                (Jury exits.)

 22                THE COURT:   Everyone can be seated.      Just a couple

 23   of things.

 24                Mr. Purpura, I assume the Government should have its

 25   next witnesses ready tomorrow morning.



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  1               MR. PURPURA:    That would be the wrong assumption.

  2   Respectfully, I'm going to need at least until -- the

  3   Government in two full days, they covered a lot of territory.

  4               THE COURT:    I'm not limiting you, I'm just asking.

  5               MR. PURPURA:    I'm trying to be as accurate with the

  6   Government as possible.

  7               I'll take it at least to lunchtime if not beyond

  8   lunch.

  9               THE COURT:    I still thing the Government ought to

 10   have at least one witness available in case Mr. Purpura's

 11   reconsiders.

 12               The second thing, I just wanted to warn you about

 13   I'm going to try something new with the jury.          It's taking

 14   them too long to get them in and out of the box when we're

 15   standing here.     I'm going to have the first row enter at the

 16   far door and the other two rows enter where they've been

 17   entering to see if that helps.       Just be prepared if it gets a

 18   little administratively messy while we sort that out tomorrow.

 19               Anything else we need to cover?

 20               MR. PURPURA:    Nothing from the defense, your Honor.

 21               MS. PARLOVECCHIO:     Nothing from the Government, your

 22   Honor.

 23               THE COURT:    Thank you.     Have a good evening.

 24               (Matter adjourned until Tuesday, November 20, 2018,

 25   at 9:30 a.m.)



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                                                                          1012


  1                                 I N D E X

  2

  3   WITNESS:

  4          JESUS ZAMBADA GARCIA

  5                DIRECT EXAMINATION (Continuing)            875

  6                BY MS. PARLOVECCHIO

  7                CROSS-EXAMINATION BY MR. PURPURA           972

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  9

 10

 11                                 EXHIBITS:

 12
                    Government Exhibit 506-19               876
 13                 Government's Exhibit 811-1              894
                    Government's Exhibit 504                943
 14

 15                 Defense 2                               988

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                     CMH      OCR       RMR         CRR   FCRR
